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 1                      UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NEW YORK
 2

 3    JERRY GRADL MOTORS, INC., et al )
      (Via Zoom for Government)       ) Case No. 1:21-CV-00409
 4                                    )                   (CRR)
                      Plaintiff,      )
 5                                    )
      vs.                             ) January 3rd, 2022
 6                                    ) 10:00 a.m.
      ACV AUCTIONS, INC., et al       )
 7    (Via Zoom for Government)       )
                                      )
 8                    Defendant.      )

 9
                      TRANSCRIPT OF EVIDENTIARY HEARING
10                BEFORE THE HONORABLE CHRISTINA R. REISS
                    SENIOR UNITED STATES DISTRICT JUDGE
11

12    APPEARANCES:

13    For the Plaintiff:      HOGANWILLIG
                              BY: RYAN JOHNSEN, ESQ.
14                                 EDWARD P. YANKELUNAS, ESQ.
                              2410 North Forest Road, Suite 301
15                            Getzville, NY 14068
                              (Via Zoom for Government)
16
      For the Defendant:      BECKAGE PLLC
17                            BY: MYRIAH VALENTINA JAWORSKI, ESQ.
                              420 Main Street, Suite 1110
18                            Buffalo, NY 14202
                              (Via Zoom for Government)
19
                              ORRICK
20                            BY: JONATHAN DIRENFELD, ESQ.
                                   JOHN A. JURATA, JR., ESQ.
21                            Columbia Center 1152 15th St., N.W.
                              Washington, DC 20005-1706
22                            (Via Zoom for Government)

23    Court Reporter:         MEGAN E. PELKA, RPR
                              Robert H. Jackson US Courthouse
24                            2 Niagara Square
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                              (Via Zoom for Government)
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 1    APPEARANCES CONTINUED:

 2    For Mr. Taylor and Mr. Renzoni:

 3                      LAW OFFICES OF ROBERT R. RADEL
                        BY: BRIAN MALCHAK, ESQ.
 4                           ROBERT R. RADEL, ESQ.
                        174 Franklin Street
 5                      Buffalo, NY 14202

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                                                                                       1

08:46AM    1                THE CLERK:   This is case of Jerry Gradl Motors, Inc.

10:00AM    2    and Lifetime Motor Cars, Inc. v. ACV Auctions, Inc., et al.

10:00AM    3    21-CV-409.

10:00AM    4                MR. YANKELUNAS:   Good morning, Your Honor, Ed

10:00AM    5    Yankelunas.    I've got Nate McMurray with me.       Mr. McMurray had

10:00AM    6    an accident on Christmas Eve.       He broke some ribs.     We're

10:00AM    7    going to -- it may impact his ability to speak now and then.

10:00AM    8    He may have a coughing fit or two, but we'll get through it.

10:00AM    9    I just wanted to let you know about that.

10:00AM   10                MS. JAWORSKI:   Good morning, Your Honor.      Happy New

10:00AM   11    Year.   This is Myriah Jaworski on behalf of defendant ACV

10:00AM   12    Auctions.    I also have my co-counsel Jay Jurata and John

10:00AM   13    Direnfeld with us this morning.

10:00AM   14        Your Honor, Christopher Taylor and Tim Renzoni are here

10:01AM   15    with their counsel, Mr. Robert Radel and I appreciate the

10:01AM   16    introduction of Nate McMurray.        I do wonder if, given that

10:01AM   17    this is an evidentiary hearing, we should ask the non-

10:01AM   18    testifying witness to step out during the testimony of the

10:01AM   19    other witnesses if Your Honor has a preference.

10:01AM   20                THE COURT:   If you're asking for that, ask to

10:01AM   21    sequester witnesses, it's mandatory that that happens, so I

10:01AM   22    would grant that request if you're making it.

10:01AM   23                MS. JAWORSKI:   I am making it, Your Honor.

10:01AM   24                THE COURT:   All right.    So if it's not your turn to

10:01AM   25    testify, you should not be listening in and let's figure out
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10:01AM    1    the term to testify.     This is defendant's motion so I will

10:01AM    2    allow you to go forward with whichever witness you choose

10:01AM    3    first and have the other witnesses excused.

10:01AM    4                MS. JAWORSKI:   Thank you, Your Honor.     We intend to

10:01AM    5    call Christopher Taylor first.

10:01AM    6                THE COURT:   Okay.   Christopher Taylor will come first

10:01AM    7    and then I want the other attorneys, plaintiffs' attorneys

10:02AM    8    to -- and as well as defendants, to have some method for

10:02AM    9    letting the witness know that they're up.         So, email, instant

10:02AM   10    messaging, however you want to do that, lets get that squared

10:02AM   11    away and I'll start with plaintiffs.        Are you all set for how

10:02AM   12    you're going to let Mr. McMurray know to come on?

10:02AM   13                MR. YANKELUNAS:     He's going to leave the room, Judge.

10:02AM   14    He's a couple second away.       I will go get him when it's his

10:02AM   15    turn.

10:02AM   16                THE COURT:   So you're doing it old school.

10:02AM   17                MR. YANKELUNAS:     Yeah.   Co-counsel is Ryan Johnsen.

10:02AM   18    He's with me.    He's on the screen now as well.

10:02AM   19                THE COURT:   All right.     And defendants, are you all

10:02AM   20    set as to how you're going to let your witness know, the next

10:02AM   21    witness, that they're up?

10:02AM   22                MS. JAWORSKI:   I think we'll be relying on Mr. Radel

10:02AM   23    for that.    Rob, could you ask Tim Renzoni to leave the room

10:02AM   24    and would you be responsible for calling him back in?

10:03AM   25                MR. RADEL:   Yes.    And Mr. Renzoni will be leaving the
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10:03AM    1    building that we are in and will be moving to another separate

10:03AM    2    building.    With that knowledge, we would ask for a moment or

10:03AM    3    two when we have to call him because we'll have to physically

10:03AM    4    go into another building to call him into where we're giving

10:03AM    5    testimony.

10:03AM    6                THE COURT:   How far away is this other building?

10:03AM    7                MR. RADEL:   About 100 feet, Your Honor.

10:04AM    8                THE COURT:   That sounds good.

10:04AM    9                MR. JOHNSEN:   I'm helping Mr. Yankelunas with the

10:04AM   10    technology, so I have some exhibits I just want to make sure

10:04AM   11    we're able to share our screens when it's time to have

10:04AM   12    evidentiary pieces.      There's also an audio recording that I

10:04AM   13    believe Myriah and Ed had talked about getting into evidence

10:04AM   14    here and we've had discussion with counsel to stipulate to

10:04AM   15    these things.    So if there is a technological blip of me

10:04AM   16    running back and forth between my laptop and Ed's, just please

10:04AM   17    forgive me in advance.

10:04AM   18                THE COURT:   Okay.   The other thing I'm going to ask

10:04AM   19    you to do is announce yourself before your speaking.            I don't

10:04AM   20    know what's it's like to be a court reporter in the arena of

10:04AM   21    Zoom but even for me looking at the Hollywood Squares and

10:04AM   22    trying to figure out who is actually speaking is problematic.

10:04AM   23    So go ahead and announce yourself each time you speak and I'll

10:04AM   24    try to do the same.      Ms. Duque, I'm going to have the

10:04AM   25    defendants call their first witness and I'm going to have you
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10:04AM    1    swear that person in.

10:05AM    2               THE CLERK:   Thank you.

10:05AM    3               MS. JAWORSKI:    This is Myriah Jaworski on behalf of

10:05AM    4    the ACV Auctions.     We call Christopher Taylor.

10:05AM    5    (The witness was sworn at 10:05 a.m.)

10:05AM    6

10:05AM    7                               DIRECT EXAMINATION

10:05AM    8

10:05AM    9    BY MS. JAWORSKI:

10:05AM   10    Q.   Good morning.    As mentioned, my name is Myriah Jaworski.

10:05AM   11    I'm counsel for defendant ACV Auctions.         Can you see and hear

10:05AM   12    me all right?

10:05AM   13    A.   Yes, I can.

10:05AM   14    Q.   If you experience any technological glitches, frozen

10:05AM   15    screens, et cetera, just let me know.        I can easily repeat

10:05AM   16    the questions.

10:05AM   17    A.   Will do.

10:05AM   18    Q.   Mr. Taylor, please introduce yourself to the Court.

10:05AM   19    A.   Hi.   My name is I'm Christopher Taylor.       I'm the owner or

10:05AM   20    co-owner of Certified Auto Brokers here at 1693 Grand Island

10:05AM   21    Boulevard in Grand Island, New York.

10:06AM   22    Q.   And where do you live?

10:06AM   23    A.   At 4025 West River Road also here in Grand Island, New

10:06AM   24    York.

10:06AM   25    Q.   And what do you do for a living?
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10:06AM    1    A.   I am the owner of this car dealership.

10:06AM    2    Q.   And how many years of experience do you have in the

10:06AM    3    automobile sales industry?

10:06AM    4    A.   Seventeen years.

10:06AM    5    Q.   And what type of vehicles does Certified Auto Brokers

10:06AM    6    sell?

10:06AM    7    A.   Used vehicles.

10:06AM    8    Q.   Does it sell new cars?

10:06AM    9    A.   No.

10:06AM   10    Q.   Does Certified Auto Brokers post its inventory online?

10:06AM   11    A.   Most of it.   Yes.

10:06AM   12    Q.   Does it post its hours of operation online?

10:06AM   13    A.   Yes.

10:06AM   14    Q.   When did Certified Auto Brokers open its doors and start

10:06AM   15    operating?

10:06AM   16    A.   In September 2010.

10:06AM   17    Q.   Has Certified Auto Brokers ever expanded its facility?

10:06AM   18    A.   Several times.    Yes.

10:06AM   19    Q.   I would like to draw your attention to a ceremony, a

10:07AM   20    ribbon cutting ceremony, in 2016.       If you recall, can you

10:07AM   21    explain what occurred then?

10:07AM   22    A.   That was well, to-date, our largest expansion.         We had

10:07AM   23    expanded the footprint of our lot, the actual storage

10:07AM   24    facility for the vehicles that are for sale as well as made a

10:07AM   25    significant expansion to the service area, to the building as
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10:07AM    1    a whole.     We added four bays of service to our store.        So

10:07AM    2    that would have been the ribbon cutting ceremony for that.

10:07AM    3    Q.   Do you recall the date of the ribbon cutting ceremony?

10:07AM    4    A.   I do not.

10:07AM    5    Q.   I'm going to share my screen.      One moment please.      Can

10:07AM    6    you see my screen?

10:07AM    7    A.   Yes, I can.

10:07AM    8    Q.   This is what's already in the record as Exhibit A to the

10:07AM    9    affidavit of Nathan McMurray.       It's on Docket 73 and the

10:07AM   10    affidavit is dated September 27th, 2021.        Mr. Taylor, do you

10:08AM   11    recognize this picture?

10:08AM   12    A.   I do.    Yes.

10:08AM   13    Q.   And what is it?

10:08AM   14    A.   That would be a picture from the ribbon cutting ceremony

10:08AM   15    that we were just speaking about.       That's Travis, my partner,

10:08AM   16    next to me and myself cutting the ribbon with some of the

10:08AM   17    town council, Mr. McMurray, and some of the Chamber of

10:08AM   18    Commerce folks as well as a number of my employees there

10:08AM   19    behind me.

10:08AM   20    Q.   And it says in this picture that the event was held on

10:08AM   21    July 6th.    Do you recall the year?

10:08AM   22    A.   Five years ago so 2016.

10:08AM   23    Q.   And again, could you identify any of the individuals in

10:08AM   24    this picture?

10:08AM   25    A.   I could identify them all if you want me to.
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10:08AM    1    Q.   Yes, please.

10:08AM    2    A.   Starting from the left is Jim Sharpe.        He's politician

10:08AM    3    from Grand Island.     I think he was maybe on the Chamber of

10:08AM    4    Commerce at the time.     Below him is Frank, I can't remember

10:08AM    5    his last name.    He was in detail and one of our employees.

10:09AM    6    Eric Finkelborn is then right next to him.         He is the

10:09AM    7    president of the Grand Island Chamber of Commerce.          Behind

10:09AM    8    me, off my left shoulder there, I'm forgetting his name.           He

10:09AM    9    was a -- I believe he was a councilman at the time.

10:09AM   10         Travis Smith, right next to me, my business partner.

10:09AM   11    Behind him Was another gentleman and now I'm forgetting his

10:09AM   12    name.   He was an employee here about five years ago.           Next to

10:09AM   13    him is Alec Metro.     He's currently our marketing director.

10:09AM   14    Next to him, the head above Mr. McMurray's shoulder is Joel

10:09AM   15    Finlasen.    He's our service manager.      And then, of course, Mr.

10:09AM   16    McMurray.    Next to him, I don't -- I can't identify who that

10:09AM   17    is in this picture.

10:09AM   18         And then next to Mr. McMurray, the woman, maybe it's Liz

10:10AM   19    Wilbur.   I think she was also a -- I don't know if -- she

10:10AM   20    wasn't on the town council.      I think she was on one of the

10:10AM   21    boards or something like that.       I can't recall her name off

10:10AM   22    the top of my head.

10:10AM   23    Q.   So you've identified Mr. McMurray and it sounds like

10:10AM   24    other representatives of town government were in attendance

10:10AM   25    at this ribbon cutting ceremony, correct?
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10:10AM    1    A.   Correct.

10:10AM    2    Q.   And members of the Grand Island Chamber of Commerce,

10:10AM    3    correct?

10:10AM    4    A.   Correct.

10:10AM    5    Q.   And in what capacity was Mr. McMurray invited to this

10:10AM    6    ribbon cutting, if you know?

10:10AM    7    A.   He was the town supervisor at the time.        I think

10:10AM    8    typically when we do one of these things, you know, we're car

10:10AM    9    salesmen, so we take as much publicity as we can, but we try

10:10AM   10    to get everybody in the town.       I sent out an invite usually

10:10AM   11    to all the -- almost to the entire town hall.

10:10AM   12    Q.   He was invited as a local politician?

10:10AM   13    A.   Yes.   He was -- I believe he was the town supervisor at

10:10AM   14    the time.

10:10AM   15    Q.   And again, you testified that I was in 2016 correct?

10:10AM   16    A.   Correct to the best of my recollection.

10:11AM   17    Q.   I'm going to stop sharing my screen.        Mr. Taylor, are you

10:11AM   18    familiar with something known as the West Road Shoreline

10:11AM   19    Trail?

10:11AM   20    A.   Yes I am.

10:11AM   21    Q.   And what is it?

10:11AM   22    A.   It was -- there used to see a parkway a 55 mile-an-hour

10:11AM   23    parkway that went along the shoreline of West River Road,

10:11AM   24    which is where I live.      They eliminated that parkway and

10:11AM   25    turned it into a bike path.       And I guess part -- it was
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10:11AM    1    always a park.     It was always part of the state parks, but

10:11AM    2    they eliminated the parkway and turned it into a bike path.

10:11AM    3    Q.   And what time period was this that they eliminated the

10:11AM    4    parkway and turned it into a trail or a bike path?

10:11AM    5    A.   I can only give you a ballpark, three to five years ago.

10:11AM    6    Q.   And at the time, did you have a position on the West Road

10:11AM    7    River Trail?

10:11AM    8    A.   I didn't take up too much of a position but I was kind of

10:12AM    9    for it.     My house is right at the beginning of the parkway

10:12AM   10    and was, in the summertime, often the location of many drag

10:12AM   11    races late at night.      So the parkway being gone was a

10:12AM   12    positive for my house I think, you know?         It just got a lot

10:12AM   13    quieter after the parkway was gone.

10:12AM   14    Q.   I'm going to share my screen to show you the affidavit of

10:12AM   15    Mr. McMurray.     One moment.    Can you see my screen?

10:12AM   16    A.   Yes.

10:12AM   17    Q.   I would like to direct you to paragraph 6 of the McMurray

10:12AM   18    affidavit which reads, I am proud of the West River Trail.

10:12AM   19    Today, the trail is quite beautiful and widely embraced, but

10:12AM   20    at the time, Mr. Taylor told me on numerous occasions that he

10:12AM   21    was against the trail.      On one occasion, he yelled at me,

10:12AM   22    saying that I was ruining his dream home.         You just testified

10:12AM   23    that you were generally in favor of the West Road Shoreline

10:12AM   24    Trail; is that correct?

10:12AM   25    A.   Yes, that's correct.
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10:13AM    1    Q.   So is it incorrect for McMurray to say that you oppose

10:13AM    2    the trail?

10:13AM    3    A.   Completely.

10:13AM    4    Q.   Do you recall making any statements to Mr. McMurray about

10:13AM    5    the West River Road Shoreline Trail?

10:13AM    6    A.   I did not.

10:13AM    7    Q.   Did you communicate your displeasure about the trail or

10:13AM    8    anything associated with the trail to Mr. McMurray?

10:13AM    9    A.   Never.    I was for the trail.

10:13AM   10    Q.   Do you have any understanding of Mr. McMurray's

10:13AM   11    statements that on one occasion you yelled at him and said it

10:13AM   12    was ruining his dream home?

10:13AM   13    A.   I did not yell at Mr. McMurray and I do not recall that

10:13AM   14    conversation at all.      I can say probably that he probably --

10:13AM   15    there was a lot of opposition to it and I was a house in a

10:13AM   16    row of 30 homes with no, you know, keep the parkway signs in

10:13AM   17    their yards.     I was not a participant of that, so maybe he's

10:13AM   18    got me confused with somebody else.

10:13AM   19    Q.   Did you ever have cause to interact with Mr. McMurray

10:14AM   20    about any other town-oriented proposals?

10:14AM   21    A.   Only interactions we ever had were again, you know,

10:14AM   22    invites to things like the ribbon cutting.         He was

10:14AM   23    occasionally involved.      I was a committee member for the

10:14AM   24    DeGlopper Memorial Committee which was a memorial that we

10:14AM   25    worked to put together for the those that were killed in
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10:14AM    1    action on the Town of Grand Island.        My uncle was one of them

10:14AM    2    memorialized there.      Mr. McMurray would occasionally come to

10:14AM    3    ceremonies for that and I think he attended a meeting or two.

10:14AM    4    So those are the only time I can ever remember, you know,

10:14AM    5    being in the same general vicinity as Mr. McMurray.

10:14AM    6    Q.   And do you use the trail today?

10:14AM    7    A.   Often.   I have a one-year-old and three-year-old, so --

10:14AM    8    Q.   Are you related to Mr. McMurray in any way?

10:14AM    9    A.   No.

10:14AM   10    Q.   Are you related to any HoganWillig attorney?

10:15AM   11    A.   No.

10:15AM   12    Q.   Do you have any personal animus against Mr. McMurray

10:15AM   13    based on any of your prior interactions with him in the

10:15AM   14    2016-2017 time period?

10:15AM   15    A.   Not at all.

10:15AM   16    Q.   Have you ever sought legal counsel for Mr. McMurray?

10:15AM   17    A.   I have not.

10:15AM   18    Q.   Have you ever sought legal counsel from anyone at the law

10:15AM   19    firm of HoganWillig?

10:15AM   20    A.   I have not.

10:15AM   21    Q.   Have you ever been a client of Mr. McMurray's?

10:15AM   22    A.   I have not.

10:15AM   23    Q.   Have you ever been a client of HoganWillig's?

10:15AM   24    A.   I have not.

10:15AM   25    Q.   I'd like to now draw your attention to the events of
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10:15AM    1    July 22nd, 2021 which is the subject matter of today's

10:15AM    2    hearing.     Can you please describe what you recall about the

10:15AM    3    events of July 22nd, 2021?

10:15AM    4    A.   Yeah.    It was the end of business.      We were just kind of

10:15AM    5    wrapping up the day and I believe I was outside doing what we

10:16AM    6    call lot walk, which is just making sure vehicles were where

10:16AM    7    they needed to be, things were secured.         I came back in the

10:16AM    8    front door of the building and noticed that one of my sales

10:16AM    9    representatives, Tim Renzoni, was in his office with what I

10:16AM   10    believed to be a customer.       As I approached, I noticed I

10:16AM   11    recognized the customer and it was Mr. McMurray.

10:16AM   12         So, at that point, I walked in and said hello.         And he

10:16AM   13    remembered who I was.      And then Tim chimed in and just said,

10:16AM   14    Mr. McMurray was here looking at a truck.         So I obviously

10:16AM   15    jumped into that, asking him what he was looking for.            That

10:16AM   16    conversation lasted about a minute and then Mr. McMurray asked

10:16AM   17    me or said that he had actually something he'd like to talk to

10:16AM   18    me about and asked if we could speak in private.

10:17AM   19    Q.   And then what happened?

10:17AM   20    A.   I said, yes and it was a bit -- it was very awkward

10:17AM   21    because we're in a fairly small office with Tim.          I'm in

10:17AM   22    between the door.     Tim kind of gestured to leave but

10:17AM   23    Mr. McMurray jumped kind of right into the conversation.           I

10:17AM   24    recall looking at Tim with a, you know, what do we do now

10:17AM   25    look and Mr. McMurray just continued on with his pitch,
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10:17AM    1    which -- he started in asking me if I did work with ACV.         I

10:17AM    2    wasn't real sure where the questioning was going, but then he

10:17AM    3    started to talk about the current lawsuit.         Then he asked me

10:17AM    4    if I was aware that he works for the firm that was

10:17AM    5    representing the -- so he explained to me that he worked for

10:18AM    6    HoganWillig and HoganWillig was the law firm representing a

10:18AM    7    couple of dealerships.      He mentioned their names, Sunshine

10:18AM    8    something-or-other and another local dealer.         He -- sorry.

10:18AM    9    Go ahead.

10:18AM   10    Q.   No.    Continue.

10:18AM   11    A.   He dove into the lawsuit, how he believed that ACV

10:18AM   12    Auctions and, very specifically, he referred to Mr. Nieman,

10:18AM   13    Joe Nieman, the founder, several times.         He asked them -- or

10:18AM   14    he asked -- he told me that they had been accused of shill

10:18AM   15    bidding and then got into some legal terms I didn't

10:18AM   16    understand, RICO, and things like that.         He then went on to

10:18AM   17    state that or he then went on to ask me -- this is where

10:19AM   18    things got weird.

10:19AM   19         He went on to ask me, you know, how I felt about Joe

10:19AM   20    Nieman personally, how I felt about his success.          I felt like

10:19AM   21    he was implying that Joe had become successful by the use of,

10:19AM   22    you know, maybe tactics that weren't truthful.          He then asked

10:19AM   23    how my relationship was with ACV Auctions as a working

10:19AM   24    relationship.     And then he, after I answered those questions,

10:19AM   25    he went on to say that they'd like to talk to me further.           He
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10:19AM    1    implied that I would come onto the lawsuit -- if I came into

10:19AM    2    the lawsuit, there was a large lawsuit monetarily and if I

10:19AM    3    joined the lawsuit and they won, of course, then we could

10:19AM    4    financially benefit from that.       And then he asked me --

10:19AM    5    Q.   Excuse me.    So he asked you to join the lawsuit, is that

10:20AM    6    your testimony here today?

10:20AM    7    A.   Yeah.   He asked he to join the lawsuit.       I did tell him

10:20AM    8    that it was something I would consider then.         He asked me to

10:20AM    9    -- if I would be willing to meet with him and it sounded like

10:20AM   10    other attorneys or other representatives of HoganWillig at

10:20AM   11    their office.

10:20AM   12    Q.   When he asked you to join the lawsuit, who did he say

10:20AM   13    would you representing you in the lawsuit?

10:20AM   14    A.   HoganWillig.

10:20AM   15    Q.   And how long did this conversation last for?

10:20AM   16    A.   Ten to fifteen minutes.

10:20AM   17    Q.   And what portion of your communications with Mr. McMurray

10:20AM   18    were a discussion of the lawsuit?

10:20AM   19    A.   Everything but -- that was what was odd about the

10:20AM   20    conversation, was that it was one minute of a truck and the

10:20AM   21    rest of it was the lawsuit.

10:20AM   22    Q.   And to be clear, he initiated the discussion of the

10:20AM   23    lawsuit with you, correct?

10:20AM   24    A.   One hundred percent.     I was unaware that he worked -- at

10:20AM   25    that moment, I didn't know that he worked for HoganWillig.
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10:21AM    1                MR. YANKELUNAS:     Object to the leading, Judge.    I

10:21AM    2    should have objected earlier.

10:21AM    3                THE COURT:   Yes.    So it was leading.    You objected

10:21AM    4    too late.    Don't lead anymore.

10:21AM    5                MS. JAWORSKI:   Understood.

10:21AM    6    BY MS. JAWORSKI:

10:21AM    7    Q.   Who else was present with you and Mr. McMurray?

10:21AM    8    A.   Mr. Tim Renzoni.

10:21AM    9    Q.   Did Mr. McMurray make any statements to you about money?

10:21AM   10    A.   He just mentioned that the lawsuit was for a large sum or

10:21AM   11    I can't recollect his exact words, but he made it known that

10:21AM   12    the lawsuit, if they won the lawsuit, there would be a lot of

10:21AM   13    money involved.     And he specifically stated that if we were a

10:21AM   14    part of the lawsuit, then we would have a piece of that.

10:21AM   15    Q.   How did the conversation with Mr. McMurray make you feel?

10:22AM   16    A.   Very uncomfortable.

10:22AM   17    Q.   And based on his statement to you, what did you perceive

10:22AM   18    Mr. McMurray's purpose was in speaking with you?

10:22AM   19                MR. YANKELUNAS:     Object to the form.    It's leading.

10:22AM   20                THE COURT:   That is -- it's not so much that it's

10:22AM   21    leading, it's asking him to look into the state of mind and

10:22AM   22    intent of somebody else.        So you can ask the same question

10:22AM   23    differently, but the stated purpose, as far as this witness is

10:22AM   24    concerned, is what's said to him, unless there is some other

10:22AM   25    information that he's gathering.
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10:22AM    1    BY MS. JAWORSKI:

10:22AM    2    Q.   Did Mr. McMurray state the purpose of his communications

10:22AM    3    with you?

10:22AM    4    A.   Yes.

10:22AM    5    Q.   What was the purpose as stated to you?

10:22AM    6    A.   The first minute was looking into buying a truck and the

10:22AM    7    next 15 minutes were to join the lawsuit.

10:23AM    8    Q.   I'd like to, again, share the McMurray affidavit by share

10:23AM    9    screen with you.     One moment.    I'd like to draw your

10:23AM   10    attention to paragraph 11 and specifically, the third

10:23AM   11    sentence which states, he, meaning you Christopher Taylor,

10:23AM   12    gave me a business card.      Did you give Mr. McMurray your

10:23AM   13    business card?

10:23AM   14    A.   No.

10:23AM   15    Q.   Do you have a business card?

10:23AM   16    A.   I do not.

10:23AM   17    Q.   So would you agree that it's incorrect for Mr. McMurray

10:23AM   18    to state that you gave him a business card?

10:23AM   19    A.   Yes.   I had not had business cards for years.

10:23AM   20                MR. YANKELUNAS:   Objection.    That's not what the

10:23AM   21    affidavit says.

10:23AM   22                MS. JAWORSKI:   Mr. Taylor --

10:23AM   23                THE COURT:   So the question is asking him whether

10:23AM   24    it's incorrect.     You have to actually be verbatim about what's

10:23AM   25    said in the affidavit.      You can't paraphrase it and them ask
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10:24AM    1    him if it's correct.

10:24AM    2               MS. JAWORSKI:    I apologize my screen just froze.    Was

10:24AM    3    there an objection to my question?

10:24AM    4               MR. YANKELUNAS:    Yes.

10:24AM    5    BY MS. JAWORSKI:

10:24AM    6    Q.   Mr. Taylor, did you see paragraph 11, sentence 3, of the

10:24AM    7    McMurray affidavit?

10:24AM    8    A.   Yes, I did.

10:24AM    9    Q.   Did you give Mr. McMurray your business card?

10:24AM   10    A.   No I did not.

10:24AM   11    Q.   Do you have a business cord?

10:24AM   12    A.   No I do not.

10:24AM   13    Q.   Following Mr. McMurray's visit to Certified Auto Brokers,

10:24AM   14    did you ever call Mr. McMurray?

10:24AM   15    A.   No I did not.

10:24AM   16    Q.   Did you take Mr. McMurray up on his officer to meet with

10:24AM   17    him at HoganWillig's office?

10:24AM   18    A.   No I did not.

10:24AM   19    Q.   Did Mr. McMurray ever contact you?

10:24AM   20    A.   I believe so.

10:24AM   21    Q.   Can you explain?

10:24AM   22    A.   I received a call a day or two later from a phone number,

10:24AM   23    a local number.     This might seem odd, but I Google searched

10:24AM   24    it because it didn't leave a voicemail, it's something I

10:25AM   25    commonly do, and that number came back to HoganWillig.
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10:25AM    1    Q.   And is that a standard practice of yours to Google

10:25AM    2    numbers that you don't recognize.

10:25AM    3    A.   Yeah.    Again, it seems maybe odd but sometimes I need to

10:25AM    4    call somebody back.      They might lot leave a voicemail for one

10:25AM    5    reason or the other.      If they're important, then I want to

10:25AM    6    call them back or honestly, I might want to avoid talking to

10:25AM    7    them, so I like to know who I'm calling first.

10:25AM    8    Q.   And in the days following Mr. McMurray's visit and offer

10:25AM    9    to represent CAB in a lawsuit, what, if anything, did you do?

10:25AM   10    A.   Can you repeat the question?

10:25AM   11    Q.   In the days following McMurray's visit to CAB?

10:25AM   12    A.   Right.   Sure.

10:25AM   13    Q.   What, if anything, did you do?

10:25AM   14    A.   As I stated before, I was really uncomfortable with the

10:25AM   15    conversation.     I didn't know that, obvious, this would come

10:25AM   16    of it, but I was very uncomfortable with the conversation.        I

10:25AM   17    didn't like his line of questioning and I felt that it was

10:26AM   18    important that somebody from ACV was at least aware of this.

10:26AM   19         I didn't really think a whole lot of it, but I reached

10:26AM   20    out to my sales manager who has a close relationship with one

10:26AM   21    of the managers there at ACV Auctions and I told my sales

10:26AM   22    manager that I think he should reach out to his contact at

10:26AM   23    ACV and just simply let him know that there was an attorney

10:26AM   24    out there soliciting dealers for this lawsuit.          And so,

10:26AM   25    that's what he did.      He reached out to a contact at ACV.
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10:26AM    1    That contact, about a day later, I think, reached out to me

10:26AM    2    and asked me if I'd be willing to speak with their legal

10:26AM    3    counsel.

10:26AM    4    Q.   Returning to the communication that you had with

10:26AM    5    Mr. McMurray on July 22nd, 2021, you indicated just now that

10:27AM    6    there was an attorney soliciting other dealers.          Did

10:27AM    7    Mr. McMurray say anything to you about other dealerships?

10:27AM    8    A.   Yes.

10:27AM    9                MR. YANKELUNAS:   Objection, Judge.     It's a multiple

10:27AM   10    question and it's also leading.

10:27AM   11                THE COURT:   It's not necessarily leading because she

10:27AM   12    is building off of what the witness said and it's proper

10:27AM   13    question and if you can answer it, you may answer it.

10:27AM   14                THE WITNESS:   Yes.   He had mentioned that he had

10:27AM   15    spoken with other dealers and was looking to speak with other

10:27AM   16    dealers.    He also, at one point, asked me if I knew any other

10:27AM   17    dealers that may be interested in this.

10:27AM   18    BY MS. JAWORSKI:

10:27AM   19    Q.   And that's dealers plural or singular?

10:27AM   20    A.   That's plural.

10:27AM   21    Q.   Thank you.    Returning to your decision to contact an ACV

10:27AM   22    representative, as you just testified to, what happened next?

10:27AM   23    A.   That ACVA representative reached out to me and asked if

10:27AM   24    I'd be willing to meet with their legal counsel.

10:28AM   25    Q.   And did you meet with their legal counsel?
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10:28AM    1    A.   Yes I did.

10:28AM    2    Q.   And what happened next?

10:28AM    3    A.   They just -- he just asked me a series of questions

10:28AM    4    similar to these, as to what occurred during our brief

10:28AM    5    meeting at the dealership and I told him what I recalled.

10:28AM    6    Q.   Did you prepare an affidavit?

10:28AM    7    A.   Yes I did.    Yeah.   They asked me to sign a legal -- an

10:28AM    8    affidavit.    Yeah.   Go on record.

10:28AM    9    Q.   And did you review and authorize the affidavit prior to

10:28AM   10    its filing?

10:28AM   11    A.   Yes I did.

10:28AM   12    Q.   Did you review the affidavit for accuracy and

10:28AM   13    truthfulness?

10:28AM   14    A.   Yes I did.

10:28AM   15    Q.   Did anyone pressure you or require you to submit the

10:28AM   16    affidavit?

10:28AM   17    A.   Not at all.

10:28AM   18    Q.   Are you being compensated for your time here today?

10:28AM   19    A.   No.

10:28AM   20    Q.   Has ACV made any promises to you in exchange for your

10:28AM   21    testimony?

10:29AM   22    A.   None.

10:29AM   23    Q.   Has anyone made any promises to you in exchange for your

10:29AM   24    testimony?

10:29AM   25    A.   No.
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10:29AM    1    Q.   You have counsel representing you today, correct?

10:29AM    2    A.   Yes I do.

10:29AM    3    Q.   And you are here pursuant to a court-ordered subpoena

10:29AM    4    issued by HoganWillig; is that right?

10:29AM    5    A.   That's correct.

10:29AM    6                 MS. JAWORSKI:    We have no further questions at this

10:29AM    7    time but reserve the opportunity for redirect.

10:29AM    8                 THE COURT:   Any cross?

10:29AM    9                 MR. YANKELUNAS:    Yes, Your Honor.

10:29AM   10

10:29AM   11                                 CROSS-EXAMINATION

10:29AM   12

10:29AM   13    MR. YANKELUNAS:

10:29AM   14    Q.   Mr. Taylor, you indicated that you were contacted by

10:29AM   15    someone at ACV, but you didn't identify who that was.            Who

10:29AM   16    contacted you?

10:29AM   17    A.   James.    We call him Jamie.      I'm not sure what his full

10:29AM   18    legal name is, but Jamie Rayman.

10:29AM   19    Q.   Okay.    Did you speak to Joe Nieman about your

10:29AM   20    conversation with Mr. McMurray?

10:29AM   21    A.   No I did not.

10:29AM   22    Q.   Okay.    Now you testified about your ribbon cutting

10:29AM   23    ceremony in 2017 I believe it was; is that right?

10:30AM   24    A.   I thought it was '16, but it could be '17.         I'm not the

10:30AM   25    best.
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10:30AM    1    Q.   Now Mr. McMurray was there?

10:30AM    2    A.   Yes.

10:30AM    3    Q.   He was there because you asked him to be there?

10:30AM    4    A.   Yes.

10:30AM    5    Q.   Okay.    Were there other occasions when you asked for

10:30AM    6    Mr. McMurray's support in his capacity as a town supervisor?

10:30AM    7    A.   Directly, not that I recall.

10:30AM    8    Q.   Indirectly?

10:30AM    9    A.   Again I worked on the DeGlopper Memorial Committee so,

10:30AM   10    you know, possibly.

10:30AM   11    Q.   Okay.    Well, you were active in town politics; is that

10:30AM   12    true?

10:30AM   13    A.   No.    Not at all.

10:30AM   14    Q.   You didn't consider Mr. McMurray to be someone you had a

10:30AM   15    political association with, either for or against?

10:30AM   16    A.   No.    Not at all.

10:30AM   17    Q.   Now you certainly knew Mr. McMurray before July 22nd,

10:30AM   18    2021, correct?

10:30AM   19    A.   Correct.    Yes.

10:30AM   20    Q.   All right.    Why isn't that in your affidavit?

10:31AM   21    A.   I don't know.      Maybe somebody didn't -- I don't know.

10:31AM   22    Q.   You don't know.      Now when you spoke to ACV, did you

10:31AM   23    indicate to Mr. ACV that you knew Mr. Taylor?

10:31AM   24    A.   I am Mr. Taylor.

10:31AM   25    Q.   Sorry.   Mr. McMurray?
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10:31AM    1    A.   I don't recall.

10:31AM    2    Q.   Okay.   Well you read your affidavit for accuracy.           You

10:31AM    3    just testified to that?

10:31AM    4    A.   Yes.

10:31AM    5    Q.   And you noticed, I assume, that there was no reference to

10:31AM    6    you knowing Mr. McMurray?

10:31AM    7    A.   I did not notice until you just brought it up.

10:31AM    8    Q.   Never occurred to you that that might be some important

10:31AM    9    you should disclose?

10:31AM   10    A.   No.    I thought, you know, no.

10:31AM   11    Q.   Do you have your affidavit handy sir?

10:31AM   12    A.   I do.   Yeah.

10:31AM   13    Q.   Paragraph 4.    When I walked in, I saw Nate McMurray, who

10:31AM   14    I now know to be an attorney at HoganWillig, speaking with

10:31AM   15    one of the salespeople.      Now you knew when you walked in he

10:32AM   16    was the former town supervisor, correct?

10:32AM   17    A.   I said that in the beginning of this testimony.

10:32AM   18    Q.   Yeah, but you didn't say that in the affidavit.             That's

10:32AM   19    my point sir.     Next one, 29?

10:32AM   20    A.   I'm sorry.    Say again.

10:32AM   21    Q.   Paragraph 29 of your affidavit?

10:32AM   22    A.   Yeah.

10:32AM   23    Q.   I had never heard of HoganWillig before Mr. McMurray

10:32AM   24    walked into my dealership.

10:32AM   25    A.   Correct.
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10:32AM    1    Q.   Did I read that correctly?

10:32AM    2    A.   Yes.

10:32AM    3    Q.   Again, once -- you certainly knew who Mr. McMurray was in

10:32AM    4    his capacity as town supervisor?

10:32AM    5    A.   One hundred percent.

10:32AM    6    Q.   Yeah.    You sure did.

10:32AM    7                 THE COURT:   So, let's not do that.

10:32AM    8                 MR. YANKELUNAS:   I'm sorry, Judge.

10:32AM    9                 THE COURT:   If you want an answer -- when I, the

10:32AM   10    Judge is talking, nobody else is talking.         You don't answer

10:32AM   11    back and let's make sure the questions are not purely

10:32AM   12    argumentative.

10:33AM   13                 MR. YANKELUNAS:   All right.

10:33AM   14    BY MR. YANKELUNAS:

10:33AM   15    Q.   But let's make sure we're clear on this, Judge -- I'm

10:33AM   16    sorry, Mr. Taylor -- you didn't disclose that you knew

10:33AM   17    Mr. McMurray.

10:33AM   18    A.   Yes, but let's also be clear since you're obviously

10:33AM   19    taking this is in a direction, I didn't do that deliberately.

10:33AM   20    There was --

10:33AM   21    Q.   Yeah because --

10:33AM   22    A.   You know --

10:33AM   23    Q.   Well --

10:33AM   24    A.   I -- honestly, in my head, it's implied.         I own a

10:33AM   25    business in the town that he was the town supervisor.            So I
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10:33AM    1    apologize.    I didn't -- you know, I'm not an attorney.         I

10:33AM    2    don't get nitty-gritty with the details and I understand that

10:33AM    3    those are important.

10:33AM    4    Q.   But you read the affidavit and you understand that it

10:33AM    5    creates the impression that Mr. McMurray was a stranger?

10:33AM    6    A.   I did not understand that at all.       That's not --

10:33AM    7    Q.   Isn't that a fair reading of the affidavit, that he was a

10:33AM    8    stranger?

10:33AM    9    A.   No.    That is not fair.

10:33AM   10    Q.   How do you read the affidavit to say you knew him?

10:33AM   11    A.   I read the affidavit and I know that I knew him.

10:33AM   12    Q.   Well but -- because --

10:33AM   13                THE COURT:   This is not productive and it's also

10:33AM   14    improper.    So it says what it says.      The Court will draw its

10:34AM   15    own conclusions.     Let's have a real question.

10:34AM   16    BY MR. YANKELUNAS:

10:34AM   17    Q.   Now when you spoke with Mr. McMurray about ACV, was that

10:34AM   18    in response to a question from you about what are you up to,

10:34AM   19    something like that?

10:34AM   20    A.   No.    No.   It was directly in response -- his conversation

10:34AM   21    about ACV was completely engaged on its own.         He had asked

10:34AM   22    me, as I stated in my affidavit, if I had a moment to speak

10:34AM   23    privately because there was something else that I wanted to

10:34AM   24    talk to you about, at which point, oddly, he just continued

10:34AM   25    in the conversation about the lawsuit against ACV.
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10:34AM    1    Q.   Now somebody drafted the affidavit for you; is that

10:34AM    2    correct sir?

10:34AM    3    A.   Yes.

10:34AM    4    Q.   One of ACV's attorneys?

10:34AM    5    A.   Yeah.    I guess.    I guess.   I don't recall.

10:34AM    6    Q.   Was it Myriah Jaworski?

10:34AM    7    A.   I don't recall for sure.

10:34AM    8    Q.   But one of the attorneys for ACV?

10:34AM    9    A.   I can't say for sure that it was an attorney, but it was

10:35AM   10    a representative at least to some degree of ACV.

10:35AM   11    Q.   Were you -- did you have the opportunity to tell that

10:35AM   12    person that you knew Mr. McMurray?

10:35AM   13    A.   I don't recall.

10:35AM   14    Q.   But you chose not to, correct?

10:35AM   15    A.   I chose not to what?

10:35AM   16    Q.   You either chose not to or you didn't disclose it.          Which

10:35AM   17    was it?

10:35AM   18    A.   I don't know.

10:35AM   19    Q.   Okay.

10:35AM   20                 MR. YANKELUNAS:   Judge, we have stipulated certain

10:35AM   21    items into evidence.      One of them is going to be a business

10:35AM   22    card Exhibit 1?

10:35AM   23                 THE COURT:   Okay.

10:35AM   24                 MR. YANKELUNAS:   On the screen now.

10:35AM   25                 THE COURT:   Exhibit 1 is admitted.
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10:35AM    1    (Exhibit 1 was received in evidence.)

10:35AM    2

10:35AM    3                 MR. YANKELUNAS:    Yeah.    We've stipulated them in,

10:35AM    4    Judge.

10:35AM    5                 THE COURT:    So keep in mind that you can stipulate.

10:35AM    6    I still have to admit it, right?

10:35AM    7                 MR. YANKELUNAS:    I'm sorry, Your Honor.    We

10:35AM    8    stipulated to what we stipulated to.         I understand it has been

10:36AM    9    admitted to, Your Honor.       That's it.

10:36AM   10                 THE COURT:    Okay.

10:36AM   11                 MR. YANKELUNAS:    We'll get them on the screen now

10:36AM   12    Judge.

10:36AM   13                 MR. JOHNSEN:    This Ryan Johnsen from HoganWillig.

10:36AM   14                 MR. YANKELUNAS:    There's a second page that's a

10:36AM   15    little bit bigger.        There we go.   There's another page too, I

10:36AM   16    think.

10:36AM   17                 MR. JOHNSEN:    This is page 1, Bates 1.    This page 2

10:36AM   18    just marked as Bates 2, and this is page 3, which is Bates 3.

10:36AM   19    BY MR. YANKELUNAS:

10:37AM   20    Q.   Mr. Taylor, can you identify this exhibit?

10:37AM   21    A.   Yes.    That is a business card from my office of Tim

10:37AM   22    Renzoni's that is my name and my cell phone number in the

10:37AM   23    middle there.

10:37AM   24    Q.   Okay.    That's a card that your firm issues in regular

10:37AM   25    course of business; is that right?
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10:37AM    1    A.   That's correct.

10:37AM    2    Q.   Is that your handwriting on the card, sir?

10:37AM    3    A.   I can't say for sure.      It could be.    I can't say for

10:37AM    4    sure.

10:37AM    5    Q.   Is that your phone number?

10:37AM    6    A.   Yes.

10:37AM    7    Q.   Do you recall Mr. McMurray being given this card during

10:37AM    8    your meeting with Mr. Renzoni?

10:37AM    9    A.   I do not recall.

10:38AM   10    Q.   But that is your phone number?

10:38AM   11    A.   Yes.

10:38AM   12    Q.   You don't have a business card of your own?

10:38AM   13    A.   I know that's odd, but I do not.

10:38AM   14    Q.   Did you discussion with Mr. McMurray -- strike that.

10:38AM   15         I can offer this later, but I'm offering it right now,

10:38AM   16    Your Honor.

10:38AM   17                 THE COURT:   And I admitted it.    So remember you told

10:38AM   18    me that Exhibit 1 was stipulated to, I reminded you that the

10:38AM   19    Judge admits the evidence, I admitted it, so it's in.

10:38AM   20                 MR. YANKELUNAS:   Okay.   I'm sorry, Judge.

10:38AM   21    BY MR. YANKELUNAS:

10:38AM   22    Q.   Do you see the reference to back lot?

10:38AM   23    A.   Okay.

10:38AM   24    Q.   Do you see it?

10:38AM   25    A.   I can't read it, but if you say it's back lot, I can see
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10:38AM    1    how that could be back lot.

10:38AM    2    Q.   Now, I'll get to that in a second, but do you recall how

10:38AM    3    this card had gotten to Mr. McMurray's possession?

10:38AM    4    A.   No.    I've already told you I do not.

10:38AM    5    Q.   You don't recall whether Mr. Renzoni gave it to him?

10:39AM    6    A.   No.

10:39AM    7    Q.   Do you recall writing your name and phone number on this

10:39AM    8    car during your meeting with Mr. McMurray?

10:39AM    9    A.   I do not recall.

10:39AM   10    Q.   Do you have any question, reservation, do you doubt for a

10:39AM   11    minute that that's your handwriting where it says Christopher

10:39AM   12    Taylor?

10:39AM   13    A.   It certainly looks like it could be.        I don't doubt it.

10:39AM   14    Q.   Well can we agree that it is your handwriting and that's

10:39AM   15    your phone number?

10:39AM   16    A.   No, we cannot agree to that.

10:39AM   17    Q.   That is your phone number?

10:39AM   18    A.   Yes.   That's my phone number.      Yes.   That we can agree to

10:39AM   19    and have agreed to.

10:39AM   20    Q.   But you're telling me you can't recognize your own

10:39AM   21    handwriting?     That's not your signature?      You didn't write

10:39AM   22    that?

10:39AM   23                THE COURT:   How is this not asked and answered

10:39AM   24    several times?

10:39AM   25                MR. YANKELUNAS:   I'm sorry, Judge.     Sorry.
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10:39AM    1    BY MR. YANKELUNAS:

10:39AM    2    Q.   You don't know what back lot refers to?

10:39AM    3    A.   I'm assuming the back lot refers to one of ACV's

10:39AM    4    competitors but I'm not positive.        I don't know.

10:39AM    5    Q.   Do you know how it got there?

10:39AM    6    A.   I do not.

10:39AM    7    Q.   Did either you or Mister -- do you know whether either

10:40AM    8    you or Mr. Renzoni mentioned back lot to Mr. McMurray?

10:40AM    9    A.   I don't recall that.

10:40AM   10    Q.   Do you recall shill bidding being discussed during that

10:40AM   11    meeting with Mr. McMurray and Mr. Renzoni?

10:40AM   12    A.   Yes, several times.

10:40AM   13    Q.   Do you know what shill bidding is?

10:40AM   14    A.   No.    Up until recently, thought it was actually called

10:40AM   15    shell bidding, but --

10:40AM   16    Q.   Up until when?

10:40AM   17    A.   You know after this whole thing came to be, I learned

10:40AM   18    that it was shill and I was saying it wrong.         I know what it

10:40AM   19    is now and I am aware of the practice in the past in the car

10:40AM   20    industry.    We didn't call it shill bidding.

10:40AM   21    Q.   You ever heard of shill bidding being mentioned in

10:40AM   22    relation to ACV before your meeting with Mr. McMurray?

10:40AM   23    A.   No.

10:40AM   24    Q.   Now is back lot in any way related to ACV?

10:41AM   25    A.   Not to the best of my knowledge besides being in the
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10:41AM    1    same --

10:41AM    2    Q.   Is that something that would have been noted during a

10:41AM    3    conversation about cars?

10:41AM    4    A.   I don't know.    I can't tell you.     I don't recall.

10:41AM    5    Q.   But it's -- back lot is a dealership that sells used

10:41AM    6    cars, isn't it?

10:41AM    7    A.   No.    No they're not.   Back lot is a wholesale platform,

10:41AM    8    an online wholesale platform, very similar to ACV Auctions.

10:41AM    9    Q.   Which sells cars, correct?

10:41AM   10    A.   Correct, but they're not a dealership.

10:41AM   11    Q.   Now did you agree to meet with Mr. McMurray at a later

10:41AM   12    time?

10:41AM   13    A.   I said I would consider it.

10:41AM   14    Q.   Okay.   Consider it for any particular purpose?

10:41AM   15    A.   To discuss the lawsuit.

10:41AM   16    Q.   As a potential --

10:41AM   17    A.   Potentially coming on as a -- I don't know what you call

10:42AM   18    it; plaintiff, client, or something of that nature.

10:42AM   19    Q.   You just discussed becoming a witness in the case?

10:42AM   20    A.   I don't think it was becoming a witness.         It was

10:42AM   21    discussing becoming a client of HoganWillig's.

10:42AM   22    Q.   Did your company have a back lot where it keeps cars?

10:42AM   23    A.   Yes.

10:42AM   24    Q.   Could that be one of the reasons that that reference to

10:42AM   25    back lot is on that card?
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10:42AM    1    A.   It could be.    Again, I have absolutely no recollection of

10:42AM    2    anything in regards to back lot.        I just don't recall.

10:42AM    3    Q.   Now is there any discussion about attorneys fees in your

10:42AM    4    meeting with Mr. McMurray?

10:42AM    5    A.   Not that I recall.

10:42AM    6    Q.   You had to sign a retainer agreement?

10:42AM    7    A.   No.

10:42AM    8    Q.   Were you asked to testify?

10:42AM    9    A.   No.

10:42AM   10    Q.   Now did you know that Mr. Renzoni and other people were

10:43AM   11    making phone calls to Mr. McMurray after this July 22

10:43AM   12    meeting?

10:43AM   13    A.   I would hope so.     As a customer, we have a pretty

10:43AM   14    stringent follow-up process to someone that comes in the

10:43AM   15    store and doesn't buy a vehicle.

10:43AM   16    Q.   Were contacts with Mr. McMurray discussed with you after

10:43AM   17    the July 22nd meeting?

10:43AM   18    A.   I don't recall.

10:43AM   19    Q.   But you wouldn't be surprised if there were followed --

10:43AM   20    A.   Definitely wouldn't be surprised.

10:43AM   21    Q.   Because that's what would in happen if someone's in your

10:43AM   22    office looking for a car, right?

10:43AM   23    A.   Correct, 100 percent.

10:43AM   24    Q.   Now other than you calling ACV, did you do anything in

10:43AM   25    response to this meeting with Mr. McMurray?         In other words,
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10:43AM    1    did you join, do anything in reference to the lawsuit?

10:44AM    2    A.     Not that I recall.

10:44AM    3    Q.     All right.   Didn't agree to become a plaintiff in the

10:44AM    4    lawsuit?

10:44AM    5    A.     No, sir.

10:44AM    6                THE COURT:     Can we take down this exhibit now?

10:44AM    7                MR. YANKELUNAS:    Yes.    Thank you.

10:44AM    8    BY MR. YANKELUNAS:

10:44AM    9    Q.     You were shaking after your meeting with Mr. McMurray; is

10:44AM   10    that correct?

10:44AM   11    A.     I was.   I was very nervous.

10:44AM   12    Q.     So -- but you didn't have any trouble writing on a

10:44AM   13    business card?

10:44AM   14    A.     No, I can actually pull myself together.

10:44AM   15    Q.     All right.   You're pretty used to having contentious

10:44AM   16    conversations with customers, aren't you?

10:44AM   17                MS. JAWORSKI:    Objection.     Argumentative.

10:44AM   18                THE COURT:     I'll allow it.

10:44AM   19                THE WITNESS:    I guess.   I think we have a different

10:44AM   20    kind of dealership here and a different kind of sales process,

10:44AM   21    so it's not very common or as common as you'd think in the

10:45AM   22    sales --

10:45AM   23    Q.     How -- I'm sorry.    How long have you been in business,

10:45AM   24    sir?

10:45AM   25    A.     For 11 years.
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10:45AM    1    Q.   And I assume that there have been some tough

10:45AM    2    conversations from time to time, right?

10:45AM    3    A.   Sure, from time to time, absolutely.

10:45AM    4    Q.   Do you shake every time you have a tough conversation

10:45AM    5    with somebody?

10:45AM    6    A.   I'm literally shaking right now.       It's just something

10:45AM    7    that I do when I have a little bit of nerves.

10:45AM    8    Q.   Oh, I see.

10:45AM    9               MR. YANKELUNAS:    One more second, Judge, I'm almost

10:45AM   10    done.

10:45AM   11    BY MR. YANKELUNAS:

10:45AM   12    Q.   Did you refer to Joe Nieman in your conversation with

10:45AM   13    Mr. McMurray?

10:45AM   14    A.   Only to respond to his questions.       He had an odd number

10:45AM   15    series of questions in regards to Joe Nieman and our

10:46AM   16    relationship.

10:46AM   17    Q.   Is Joe Nieman a friend of yours?

10:46AM   18    A.   No, he's not.

10:46AM   19    Q.   Is he a business associate of your's?

10:46AM   20    A.   Only to the degree that we do business with ACV.

10:46AM   21    Q.   Do you buy cars off the ACV online platform?

10:46AM   22    A.   We do now.    We just started here in the last probably 60

10:46AM   23    days at a normal rate.      Back then, actually, we did not buy

10:46AM   24    cars from ACV.

10:46AM   25    Q.   On July 22nd, 2021, you weren't buying cars from ACV at
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10:46AM    1    all?

10:46AM    2    A.     No.   In the years that we had been signed up with them,

10:46AM    3    we may have bought a handful, but it wasn't a regular

10:46AM    4    occurrence.     We just couldn't find the inventory we were

10:46AM    5    looking for.     We didn't really like the sales platform side

10:46AM    6    of it.

10:46AM    7    Q.     Did you have any objections to their sales tactics on

10:46AM    8    July 22, 2021?

10:46AM    9    A.     No.   My only objection is that you can't tell who you're

10:46AM   10    buying from.     That always drove me nuts.      I understand the

10:46AM   11    reasoning behind it but that's why I didn't buy from the

10:46AM   12    platform.

10:46AM   13    Q.     Did you tell Mr. McMurray that you started with Joe

10:47AM   14    Nieman?

10:47AM   15    A.     Yeah.   We started the same year.      Our companies were

10:47AM   16    founded the same year and Joe Nieman actually -- this is my

10:47AM   17    degree of relationship, he and some other person physically

10:47AM   18    signed us up at our office.       So, yeah.    So he -- we were

10:47AM   19    like, I forget, number 14 which I'm proud of.          They're a

10:47AM   20    supersuccessful company here locally and we were one of the

10:47AM   21    very early dealers to sign on with them.

10:47AM   22    Q.     Did you speak to Mr. Nieman about the ACV class-action

10:47AM   23    lawsuit?

10:47AM   24    A.     I have not spoken with Mr. Nieman ever since that day

10:47AM   25    11 years ago or 10 years ago, however long ago it was.           That
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10:47AM    1    was the last time I ever spoke with him.

10:47AM    2               MR. YANKELUNAS:       Nothing further, Judge.

10:47AM    3               THE COURT:    Any redirect?

10:48AM    4               MS. JAWORSKI:    Yes, Your Honor.

10:48AM    5

10:48AM    6                             REDIRECT EXAMINATION

10:48AM    7

10:48AM    8    BY MS. JAWORSKI:

10:48AM    9    Q.   Mr. Taylor, you testified that in the 2016-2017 time

10:48AM   10    period, you knew Mr. McMurray in his capacity as a town

10:48AM   11    government official; is that correct?

10:48AM   12    A.   Town supervisor.     Yes.

10:48AM   13    Q.   And when he walked into Certified Auto Brokers on

10:48AM   14    July 22nd, 2021, did you know that he was a practicing

10:48AM   15    attorney at the time?

10:48AM   16    A.   I can't say that I did.       No.

10:48AM   17    Q.   Did you -- until he disclosed this to you, did you know

10:48AM   18    that he was an attorney with HoganWillig?

10:48AM   19    A.   No I did not.

10:48AM   20    Q.   So is it accurate to say that until he disclosed that to

10:48AM   21    you on July 22nd, 2021, you did not know him to be an

10:48AM   22    attorney at HoganWillig?

10:48AM   23    A.   That is correct.

10:48AM   24    Q.   How did the conversation with Mr. McMurray conclude?

10:48AM   25    A.   Awkwardly as it began.       Everybody kind of stood up and
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10:48AM    1    Mr. McMurray said, you know, we'll reach out to you and thank

10:48AM    2    you for your time and then Tim, being a good car salesman was

10:49AM    3    trying to get as much information from Mr. McMurray as

10:49AM    4    possible as far as contact information so that he could

10:49AM    5    appropriately follow up with him as well as we really tried

10:49AM    6    to redirect the conversation back to the sale of the vehicle,

10:49AM    7    trying to identify what exactly he was looking for.

10:49AM    8         We didn't spend much time talking about it.         I explained

10:49AM    9    to him that we have 150 cars on the lot and whatever he

10:49AM   10    wanted, if we didn't have it, we could get, but all this

10:49AM   11    happened very, very quickly and then he kind of shuffled out

10:49AM   12    the door after giving us some of that information.

10:49AM   13    Q.   Did you offer to show him cars on the lot?

10:49AM   14    A.   Absolutely.    Yeah.   Again -- so it was just a little odd

10:49AM   15    because he never looked at any vehicles and again, we have a

10:49AM   16    lot of vehicles.     Somebody had asked me during this testimony

10:49AM   17    do I -- are all my vehicles online?        We have a lot of

10:49AM   18    vehicles.    We turn them very fast.

10:49AM   19         We sell 120 cars a month.      We probably have 150 cars on

10:50AM   20    the ground at any one given time, so getting them all, what we

10:50AM   21    call, retail-ready and online for people to view sometimes can

10:50AM   22    be difficult.     So I explained to that Mr. McMurray and offered

10:50AM   23    to show him vehicles that I thought might suit was he was

10:50AM   24    looking for, but I think he had said that we could do that at

10:50AM   25    a later date.
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10:50AM    1    Q.   And finally, with respect to your affidavit, aside from

10:50AM    2    the interactions you had with Mr. McMurray some four to

10:50AM    3    five years ago in his capacity as a town government official,

10:50AM    4    did you intend to deceive the Court or anyone with respect to

10:50AM    5    statements in your affidavit?

10:50AM    6    A.   Not at all.    That's what I want to make clear.       No.

10:50AM    7    Q.   And again, you reviewed the affidavit for truthfulness

10:50AM    8    and accuracy, correct?

10:50AM    9    A.   Yes, I did.

10:50AM   10               MS. JAWORSKI:    Thank you.    No further questions.

10:50AM   11               THE COURT:    Any recross?

10:51AM   12               MR. YANKELUNAS:    No, Judge.

10:51AM   13               THE COURT:    Thank you.    You -- Mr. Taylor, you are

10:51AM   14    done and we'll have the next witness called by the defendants.

10:51AM   15               MR. RADEL:    Your Honor, Robert Radel speaking.       I'll

10:51AM   16    just need a moment to get Mr. Renzoni.

10:53AM   17    (The witness was excused at 10:53 a.m.)

10:53AM   18               THE COURT:    This is Judge Reiss.     The deputy clerk is

10:53AM   19    going to swear your after you're called as a witness.

10:53AM   20               MR. RADEL:    Your Honor, a housekeeping matter first.

10:53AM   21    I just wanted to make sure that we were done with Mr. Taylor.

10:54AM   22    I had cut him loose unless this Court wants him to be kept

10:54AM   23    available.    He does have other business matters that he would

10:54AM   24    like to attend to.

10:54AM   25               THE COURT:    I was not -- I can't imagine him being
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10:54AM    1    called on rebuttal and Mr. Marcus, have you completed your

10:54AM    2    examination of him?

10:54AM    3                 MR. YANKELUNAS:    I am.   This is Ed Yankelunas and

10:54AM    4    Mr. Marcus is incorrect.

10:54AM    5                 THE COURT:   Okay.

10:54AM    6                 MR. YANKELUNAS:    I'm done with him, Judge.

10:54AM    7                 MR. RADEL:   Thank you, Your Honor.

10:54AM    8                 MS. JAWORSKI:    Defendant ACV Auctions calls Tim

10:54AM    9    Renzoni.

10:54AM   10    (The witness was sworn at 10:54 a.m.)

10:54AM   11                 THE CLERK:   Please state your full name and spell it

10:54AM   12    for the record.

10:54AM   13                 THE WITNESS:    Yes.   My name Timothy Renzoni, spelled

10:55AM   14    R-E-N-Z-O-N-I.

10:55AM   15

10:55AM   16                                 DIRECT EXAMINATION

10:55AM   17

10:55AM   18    BY MS. JAWORSKI:

10:55AM   19    Q.   Good morning, Mr. Renzoni.

10:55AM   20    A.   Good morning.

10:55AM   21    Q.   My name is Myriah Jaworski.        I'm counsel for defendant

10:55AM   22    ACV Auctions.     Can you hear and see me all right?

10:55AM   23    A.   I can.    Thank you.

10:55AM   24    Q.   Okay.    If we have any glitches or technology issues, just

10:55AM   25    raise your hand and I can repeat my questions.
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10:55AM    1    A.   Thank you.

10:55AM    2    Q.   Mr. Renzoni, can you please introduce yourself to the

10:55AM    3    Court?

10:55AM    4    A.   Yes.   My name is Timothy Renzoni.      I'm a sales person

10:55AM    5    here at Certified Auto Brokers.

10:55AM    6    Q.   And where do you live?

10:55AM    7    A.   I live in North Buffalo.

10:55AM    8    Q.   And how long have you been a car salesman with Certified

10:55AM    9    Auto Brokers?

10:55AM   10    A.   Slightly over three years.

10:55AM   11    Q.   And what was your job experience before that?

10:55AM   12    A.   Car sales.

10:55AM   13    Q.   For how long have you been in the car sales industry?

10:55AM   14    A.   Total of somewhere in between 13 and 15 years, best

10:55AM   15    recall.

10:55AM   16    Q.   What type of vehicles does Certified Auto Brokers sell?

10:56AM   17    A.   That's the neat thing.      We sell a little bit of

10:56AM   18    everything from the college kid car to the BMW to the $50,000

10:56AM   19    pick-up truck and everything in between.

10:56AM   20    Q.   Does Certified Auto Brokers sell new cars?

10:56AM   21    A.   No, we do not.

10:56AM   22    Q.   So it only sells used cars; is that fair to say?

10:56AM   23    A.   That's correct.

10:56AM   24    Q.   Is Certified Auto's inventory posted on its website?

10:56AM   25    A.   It is.   Yeah.
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10:56AM    1    Q.   And based on your 13 plus years of experience in the

10:56AM    2    industry, when people come into a car dealership for the

10:56AM    3    purpose of purchasing a car, what are some steps that they

10:56AM    4    ordinarily take?

10:56AM    5    A.   Everybody is a little bit different but at the end of the

10:56AM    6    day, people are people, and they all act -- it depends on how

10:56AM    7    they come in, the situation, you know?         Usually when somebody

10:57AM    8    comes in, regardless of whether it's truck buyer or somebody

10:57AM    9    buying a more economy car, they come in.         We learn about what

10:57AM   10    they're looking to accomplish and help them determine the

10:57AM   11    steps going from there, figure out what the process is going

10:57AM   12    to be figure out what our end game is.

10:57AM   13    Q.   Did they walk the lot and observe cars?

10:57AM   14    A.   They have the opportunity to.       We have an open lot and I

10:57AM   15    would say a vast majority of our customers like to get a look

10:57AM   16    around especially with our construction we got going on now.

10:57AM   17    Q.   Do they look at particular cars in which they're

10:57AM   18    interested?

10:57AM   19               MS. JAWORSKI:    Objection.    Are these questions

10:57AM   20    related to Mr. McMurray or just --

10:57AM   21               THE COURT:    So I'm going to sustain the objection on

10:57AM   22    relevance.    There isn't need to identify the typical car

10:57AM   23    buyer.    That would be well within the cannon of any common

10:58AM   24    person how somebody buys a car, so let's move along to the

10:58AM   25    questions that we're here --
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10:58AM    1                MS. JAWORSKI:   All right.

10:58AM    2    BY MS. JAWORSKI:

10:58AM    3    Q.   I'd like to draw your attention to the evening of the

10:58AM    4    July 22nd, 2021 which is the subject matter of today's

10:58AM    5    hearing.    Prior to that date, had you ever met an individual

10:58AM    6    by the name of Nathan McMurray?

10:58AM    7    A.   No.

10:58AM    8    Q.   And can you explain what occurred on July 22nd, 2021?

10:58AM    9    A.   Yes.   That evening, a gentleman walked through the front

10:58AM   10    door.   We were just about to close up, but it's summertime

10:58AM   11    and days are long, so customer walks in at 7 o'clock, I'm

10:58AM   12    certainly going to help them out.        And he came in, sat down,

10:58AM   13    mentioned that he was looking for a pick-up truck so he and

10:58AM   14    his brother could build out a project in Niagara County.           We

10:58AM   15    discussed trucks a little bit and like you said, just the

10:59AM   16    start of the sales process.

10:59AM   17    Q.   And at the time, did Certified Auto Brokers have trucks

10:59AM   18    in stock?

10:59AM   19    A.   Yes.   Oh yeah.   We always have trucks.

10:59AM   20    Q.   And did Nathan McMurray walk the lot to observe any of

10:59AM   21    the trucks?

10:59AM   22    A.   He did not.

10:59AM   23    Q.   Did you offer to have him walk the lot to observe the

10:59AM   24    trucks?

10:59AM   25    A.   Yes.   I offered to show him some trucks.        So once we
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10:59AM    1    started talking about it a little bit trying to figure out

10:59AM    2    which way he was going for his pick-up truck.

10:59AM    3    Q.   Did Mr. McMurray ask to see any trucks?

10:59AM    4    A.   He did not.

10:59AM    5    Q.   Did he ask to test drive any trucks?

10:59AM    6    A.   He did not.

10:59AM    7    Q.   And did he, in fact, see or test drive any trucks?

10:59AM    8    A.   No.

10:59AM    9    Q.   And then what happened?

10:59AM   10    A.   So about five or so minutes into the conversation, he had

10:59AM   11    asked if Chris Taylor was in and I didn't know where Chris

10:59AM   12    was at that point, being the end of the day, and Chris

11:00AM   13    happened to walk through the showroom and stopped in to greet

11:00AM   14    Mr. McMurray as he would just about any customer.          It's my

11:00AM   15    office, frankly.

11:00AM   16    Q.   And then what happened?

11:00AM   17    A.   Then the conversation turned a little bit from talking

11:00AM   18    about pick-up trucks and Mr. McMurray made a comment about

11:00AM   19    asking if Chris uses ACV, if he was familiar with them.          I

11:00AM   20    kind of -- at that point, I like -- we were talking about

11:00AM   21    business things that was kind of withdrawn from the

11:00AM   22    conversation a little bit at that point, but Chris and

11:00AM   23    Mr. McMurray were in my office talking about this subject

11:00AM   24    matter.

11:00AM   25    Q.   And what did Mr. McMurray say about ACV Auctions?
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11:00AM    1    A.   He -- what I heard them mention was that he offered --

11:01AM    2    made -- sounded like he made Chris an offer.         I know he made

11:01AM    3    Chris an offer and in his vague terms, he said, it could very

11:01AM    4    well stand to help him.

11:01AM    5    Q.   And what was the offer that Mr. McMurray made to

11:01AM    6    Mr. Taylor?

11:01AM    7    A.   I imagine it had to do with being involved with suing ACV

11:01AM    8    but, again, you know, he wasn't specific.         It was like, if

11:01AM    9    you get on board with this, this could really help you and

11:01AM   10    like, I didn't want to be -- frankly, I didn't want to be in

11:01AM   11    the office for that.      I looked at Chris and kind of give him

11:01AM   12    a glare like I was feeling a little bit awkward and then the

11:01AM   13    conversation kind of continued as Mr. McMurray asked Chris

11:02AM   14    these questions.

11:02AM   15    Q.   Did Mr. McMurray say anything about a lawsuit?

11:02AM   16    A.   Yes.

11:02AM   17    Q.   And what was that about the lawsuit?

11:02AM   18    A.   All I remember was that he mentioned that there was

11:02AM   19    something happening against ACV.

11:02AM   20    Q.   Did Mr. McMurray ask Mr. Taylor any questions?

11:02AM   21    A.   Specifically, I don't recall.

11:02AM   22    Q.   How long would you approximate that the conversation

11:02AM   23    between Mr. McMurray and Mr. Taylor lasted for?

11:02AM   24    A.   I would say somewhere between 5 and 15 minutes if I'm

11:02AM   25    recalling right.
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11:02AM    1    Q.   And you testified that Mr. McMurray implied that the

11:02AM    2    lawsuit could help Certified Auto Brokers out or help

11:02AM    3    Mr. Taylor out?

11:03AM    4    A.   Right.

11:03AM    5                MR. YANKELUNAS:   Attorney/client -- objection, Judge.

11:03AM    6                THE COURT:   Objection sustained.

11:03AM    7    BY MS. JAWORSKI:

11:03AM    8    Q.   Is it your testimony today that you heard Mr. McMurray

11:03AM    9    state that the lawsuit could help Mr. Taylor out?

11:03AM   10                MR. YANKELUNAS:   Objection.    Asked and answered.

11:03AM   11                THE COURT:   Well it's not asked and answered.       That

11:03AM   12    wasn't the testimony.      So -- at least I'm taking notes

11:03AM   13    verbatim.     It's harder for me to do that when you're asking

11:03AM   14    questions.    Why don't you just ask him what, if anything, he

11:03AM   15    recalls about that subject matter.

11:03AM   16    BY MS. JAWORSKI:

11:03AM   17    Q.   What, if anything, do you recall Mr. McMurray saying

11:03AM   18    about the lawsuit?

11:03AM   19    A.   Like I said, that he -- there was something that if Chris

11:03AM   20    was to get involved with, that he stood to gain; like, it

11:03AM   21    would be very good for him.       Like, you could tell there was

11:03AM   22    an offer being made.

11:03AM   23    Q.   And did Mr. McMurray offer any insight into how Chris

11:04AM   24    could get involved in the lawsuit?

11:04AM   25    A.   No, not that I recall.
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11:04AM    1    Q.     And what was your impression of Mr. McMurray's offer?

11:04AM    2    A.     That it's --

11:04AM    3                MR. YANKELUNAS:   Objection, Your Honor.      Impression.

11:04AM    4                THE COURT:   I'll allow it because it's this

11:04AM    5    witness's.    I'm not so sure the relevance, but go ahead.

11:04AM    6                THE WITNESS:   My impression was what I was hearing

11:04AM    7    seemed unethical.     And it went from, you know, coming into

11:04AM    8    look at a pick-up truck to taking this right turn onto a

11:04AM    9    subject that has nothing to do with purchasing a pick-up

11:04AM   10    truck.

11:04AM   11    BY MS. JAWORSKI:

11:04AM   12    Q.     Did Mr. McMurray make any other statements about car

11:04AM   13    dealerships?

11:04AM   14    A.     That I can recall, he might have.     I think he mentioned a

11:05AM   15    few.    I don't remember specifically which ones.

11:05AM   16    Q.     How did the conversation with Mr. McMurray and Mr. Taylor

11:05AM   17    end, if you recall?

11:05AM   18    A.     Cordially, you know?   Chris is a professional he shook

11:05AM   19    hands and they parted ways and -- oh.        Go ahead.

11:05AM   20    Q.     Do you recall Mr. McMurray mentioned his law firm

11:05AM   21    HoganWillig?

11:05AM   22    A.     I don't recall.

11:05AM   23    Q.     And how did you feel witnessing this conversation?

11:05AM   24                MR. YANKELUNAS:   Objection, Judge.

11:05AM   25                THE COURT:   Sustained.
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11:05AM    1    BY MS. JAWORSKI:

11:05AM    2    Q.   How did this conversation make you feel?

11:05AM    3    A.   Uncomfortable.

11:05AM    4                MR. YANKELUNAS:   Same objection, Judge.

11:05AM    5                THE COURT:   Sustained.    So remember this isn't an

11:05AM    6    intention infliction of emotional distress.         How he felt about

11:05AM    7    it, he already asked and answered that.         Let move to the next

11:05AM    8    question.

11:05AM    9    BY MS. JAWORSKI:

11:05AM   10    Q.   At the end of that discussion, did the conversation turn

11:06AM   11    back to a discussion of trucks?

11:06AM   12    A.   I tried to turn the discussion back to a pick-up truck

11:06AM   13    and I had to hastily write down Mr. McMurray's contact info

11:06AM   14    because, like I said, it seemed a lot less like it was about

11:06AM   15    the pick-up truck at that point than his -- again, it was

11:06AM   16    less about the truck at that point.

11:06AM   17    Q.   And after the conversation concluded, did Mr. McMurray

11:06AM   18    look at any of the trucks?

11:06AM   19    A.   He did not.

11:06AM   20    Q.   Did he, at that time, walk the lot?

11:06AM   21    A.   No.    I followed up with him quite a bit and didn't get

11:06AM   22    any contact back.

11:06AM   23    Q.   Can you explain some of the follow up that you had with

11:06AM   24    Mr. McMurray?

11:06AM   25    A.   Phone calls, text messages, emails.
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11:06AM    1    Q.   And did Mr. McMurray return any of your calls?

11:06AM    2    A.   No.

11:06AM    3    Q.   And based on your interaction with him on the night of

11:07AM    4    July 22nd, why do you think that attorney McMurray came into

11:07AM    5    Certified Auto Brokers?

11:07AM    6                 MR. YANKELUNAS:   Objection, Judge.

11:07AM    7                 THE COURT:   I think it's been asked and answered.

11:07AM    8    I'll allow him to answer it because he has answered it to the'

11:07AM    9    Courts satisfaction.

11:07AM   10                 THE WITNESS:   So my impression was that the looking

11:07AM   11    at a truck was not the primary purpose.         The primary purpose

11:07AM   12    was getting some facetime with Chris and asking him about, you

11:07AM   13    know, what we're talking about today.

11:07AM   14    BY MS. JAWORSKI:

11:07AM   15    Q.   And at the time of McMurray's visit on July 22nd, 2021,

11:07AM   16    did Certified Auto Brokers have used Dodge Rams for sale, if

11:07AM   17    you recall?

11:07AM   18    A.   Yeah.    We always have a good mix of all kinds of pick-up

11:08AM   19    trucks.

11:08AM   20    Q.   So, if McMurray was interested in purchasing --

11:08AM   21    A.   He mentioned he wasn't really brand specific --

11:08AM   22    Q.   Oh I'm sorry.    Did I speak over you?

11:08AM   23    A.   He mentioned that he wasn't really brand specific in the

11:08AM   24    beginning and that he was looking for more like a work truck.

11:08AM   25    So I wasn't thinking something in like a late model.
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11:08AM    1    Q.   And if Mr. McMurray had a brand and mileage in mind that

11:08AM    2    Certified Auto Brokers did not have in stock, could you

11:08AM    3    obtain it for him some way?

11:08AM    4    A.   Oh yeah.    Absolutely.    We do that all the time.

11:08AM    5    Q.   And again, Certified Auto Brokers only sells used cars,

11:08AM    6    correct?

11:08AM    7    A.   Everything that we sell is preowned, but we had a 2021

11:08AM    8    recently with 497 miles on it.       So we're not like a dirt lot.

11:08AM    9    Q.   Are you being compensated for your time here today,

11:08AM   10    Mr. Renzoni?

11:08AM   11    A.   No.    I'm actually losing money because I'm off the floor.

11:08AM   12    Pardon my candor.

11:08AM   13    Q.   Has ACV made any promises to you in exchange for your

11:09AM   14    testimony today?

11:09AM   15    A.   No.

11:09AM   16    Q.   Has anyone made any promises to you in exchange for your

11:09AM   17    testimony?

11:09AM   18    A.   No.

11:09AM   19    Q.   You have counsel representing you today, correct?

11:09AM   20    A.   Yes.

11:09AM   21    Q.   And you're here pursuant to a court-ordered subpoena

11:09AM   22    issued by HoganWillig, correct?

11:09AM   23    A.   Correct.

11:09AM   24                MS. JAWORSKI:   No further questions.

11:09AM   25                THE COURT:   Any cross-examination?
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11:09AM    1                 MR. YANKELUNAS:    Yes, Your Honor.

11:09AM    2

11:09AM    3                               CROSS-EXAMINATION

11:09AM    4

11:09AM    5    BY MR. YANKELUNAS:

11:09AM    6    Q.   Can you identify this exhibit?

11:09AM    7    A.   Yes.    It looks like one of my business cards.

11:09AM    8    Q.   Mr. Renzoni, can you identify that?

11:09AM    9    A.   Yes.    It's one of my business cards.

11:09AM   10    Q.   Okay.    Did you give your business card to Mr. McMurray

11:09AM   11    during your meeting?

11:09AM   12    A.   I can't recall.

11:09AM   13    Q.   Well that's your business card, correct?

11:10AM   14    A.   It is.

11:10AM   15    Q.   Okay.    Do you recognize the handwriting, the phone number

11:10AM   16    and the name?

11:10AM   17    A.   I recognize the name on it.      The handwriting, I can't.   I

11:10AM   18    don't know whose it is.

11:10AM   19    Q.   Do you recall seeing Mr. Taylor write his name and phone

11:10AM   20    number on this card?

11:10AM   21    A.   I don't recall.

11:10AM   22    Q.   Okay.    But you do recall giving this card to Mr.

11:10AM   23    McMurray?     It's your card.

11:10AM   24    A.   I give every one of my customers a card.

11:10AM   25    Q.   Do you give them a card when they come in looking for a
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11:10AM    1    truck or a vehicle?

11:10AM    2    A.   Of course.

11:10AM    3    Q.   And the reference to the back lot, do you know what that

11:10AM    4    means?

11:10AM    5    A.   As a reference to what?

11:10AM    6    Q.   Back lot, you see that toward the left-hand side of the

11:10AM    7    exhibit?

11:10AM    8    A.   Oh okay.    Yes.   That could refer to our holding lot, I

11:10AM    9    would imagine.     It's just a --

11:11AM   10    Q.   Okay.   That's fine.    Do you also recall discussing a back

11:11AM   11    lot wholesaler with Mr. McMurray?

11:11AM   12    A.   No.

11:11AM   13    Q.   You don't know if you did or you didn't?

11:11AM   14    A.   No.   I don't recall having a conversation about that.

11:11AM   15    Q.   Now, the conversation between Mr. McMurray and

11:11AM   16    Mr. Taylor, you were there for the duration of it, the entire

11:11AM   17    conversation?

11:11AM   18    A.   That's correct.

11:11AM   19    Q.   Okay.   Do you recall Mr. Taylor writing his name on this

11:11AM   20    card at the conclusion of the conversation?

11:11AM   21    A.   I don't recall.

11:11AM   22    Q.   Do you have any question, doubt, that he did that?

11:11AM   23    A.   I wouldn't know.

11:11AM   24    Q.   All right.    Did they discuss talking in the future at

11:11AM   25    some point, Mr. McMurray and Mr. Taylor?
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11:11AM    1    A.    If they did, I can't recall.      It would have been more

11:11AM    2    about buying a truck based on, you know, where we left off.

11:11AM    3    I think it was more like Chris saying yeah, Tim will help you

11:12AM    4    any way he can.

11:12AM    5    Q.    I believe you indicated if your direct that you don't

11:12AM    6    have any specific recollection of what was discussed between

11:12AM    7    Mr. McMurray and Mr. Taylor; is that fair?

11:12AM    8    A.    That's fair.

11:12AM    9    Q.    So you can't recall whether or not Mr. McMurray asked to

11:12AM   10    represent Mr. Taylor; is that right?

11:12AM   11    A.    I don't recall.

11:12AM   12    Q.    All right.   Let's play Exhibit 5.

11:12AM   13               MR. YANKELUNAS:    Judge, we're now going to play a

11:12AM   14    video or a phone message.       Just take us a second to get it set

11:12AM   15    up.

11:12AM   16               THE COURT:    And this is Exhibit 5?

11:12AM   17               MR. YANKELUNAS:    Exhibit 5.

11:12AM   18               THE COURT:    Exhibit 5 is admitted.

11:12AM   19    (Exhibit 5 was received in evidence.)

11:12AM   20

11:12AM   21    (The recording was played.)

11:13AM   22               MR. YANKELUNAS:    Judge should we play that again?

11:13AM   23    The volume didn't sound great.

11:13AM   24               THE COURT:    Let's try it again.

11:13AM   25               MR. YANKELUNAS:    Let's try it again.
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11:13AM    1    (The recording was played.)

11:13AM    2                 MR. YANKELUNAS:     Is that better, Judge?

11:13AM    3                 THE COURT:   Yes.

11:13AM    4                 MS. JAWORSKI:   Okay.

11:13AM    5    BY MR. YANKELUNAS:

11:13AM    6    Q.   Mr. Renzoni, was that your voice on that recording?

11:14AM    7                 MR. RADEL:   Your Honor, we could not hear at this

11:14AM    8    end anything on the recording.        We've tried to turn up our

11:14AM    9    volume at this end.       If we could replay it one more time,

11:14AM   10    were tried to get -- we've got our volume at 100 percent now.

11:14AM   11                 THE COURT:   So we'll try it one more time.         What I

11:14AM   12    heard didn't have much in the way of the substance about it,

11:14AM   13    so let's try it one more time.

11:14AM   14                 MR. RADEL:   Thank you, Your Honor.

11:15AM   15                 MR. JOHNSEN:    Trying to turn up the volume here,

11:15AM   16    everyone.     I apologize.

11:15AM   17    (The recording was played.)

11:15AM   18                 MR. YANKELUNAS:     Was that any better I hope?

11:15AM   19                 MR. RADEL:   We were able to hear something.        I'll let

11:16AM   20    the witness describe what it is that he heard.

11:16AM   21    BY MR. YANKELUNAS:

11:16AM   22    Q.   Mr. Renzoni, did you -- I'm sorry about the volume.            I

11:16AM   23    tried.    Was that your voice?

11:16AM   24    A.   It sounded like me leaving a follow-up call.

11:16AM   25    Q.   Okay.    A follow-up call with Mr. McMurray?
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11:16AM    1    A.   Right.

11:16AM    2    Q.   Did you make more than one follow-up call with

11:16AM    3    Mr. McMurray?

11:16AM    4    A.   I believe I did.

11:16AM    5    Q.   Did you send some texts to Mr. McMurray?

11:16AM    6    A.   Yes.

11:16AM    7    Q.   Because is it correct, sir, that you did that because you

11:16AM    8    understood Mr. McMurray to be in your firm -- in your

11:16AM    9    dealership looking for a pick-up truck?

11:16AM   10    A.   Yeah.    I followed the steps that I would with any

11:16AM   11    customer.

11:16AM   12    Q.   You wouldn't have done it if you didn't think they was

11:16AM   13    there to buy a pick-up truck, would you?

11:16AM   14    A.   No.    If somebody came in for some air in their tires, I

11:16AM   15    would put some air in their tires.

11:16AM   16    Q.   Or if he came for some other purpose other than to buy a

11:16AM   17    truck you would not have done that if that's what you

11:16AM   18    believed, correct?

11:16AM   19    A.   I think sometimes people can come in for more than one

11:16AM   20    reason.

11:16AM   21    Q.   But you made quite an effort to follow up, right; several

11:17AM   22    attempts?

11:17AM   23    A.   Yes.

11:17AM   24    Q.   Okay.

11:17AM   25                 MR. YANKELUNAS:   Nothing further for this witness,
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11:17AM    1    Judge.

11:17AM    2                 THE COURT:   Any redirect?

11:17AM    3                 MS. JAWORSKI:   Yes, Your Honor.

11:17AM    4

11:17AM    5                              REDIRECT EXAMINATION

11:17AM    6

11:17AM    7    BY MS. JAWORSKI:

11:17AM    8    Q.   Mr. Renzoni, do you recall formalizing an affidavit for

11:17AM    9    this case?

11:17AM   10    A.   I do.    Yeah.

11:17AM   11    Q.   I'm going to share my screen to show you that affidavit.

11:17AM   12    And can you tell me the date that your affidavit was

11:17AM   13    executed?

11:17AM   14    A.   The 9th of September.

11:17AM   15    Q.   And you'd agree that that is some six weeks after the

11:17AM   16    July 22nd visit by Mr. McMurray into Certified Auto Brokers,

11:17AM   17    correct?

11:17AM   18    A.   Sounds right.

11:17AM   19    Q.   At the time that you submitted this affidavit, do you

11:17AM   20    have the opportunity to review it for accuracy?

11:17AM   21    A.   I did.

11:17AM   22    Q.   And review it for truthfulness?

11:17AM   23    A.   Yes.

11:17AM   24    Q.   And would you agree that generally the events of that

11:18AM   25    evening may have been more fresh in your mind at the time
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11:18AM    1    that you filed out this affidavit?

11:18AM    2                MR. YANKELUNAS:   Objection.

11:18AM    3                THE COURT:   Basis?

11:18AM    4                MR. YANKELUNAS:   Objection.

11:18AM    5                THE COURT:   Basis for your objection?

11:18AM    6                MR. YANKELUNAS:   Judge, it's to relevance also and

11:18AM    7    what was subjectively -- what was in this person's mind to

11:18AM    8    what he recollected is not accurate -- or not relevant.

11:18AM    9    Relevance, Judge.

11:18AM   10                THE COURT:   Well it's outside the scope of cross and

11:18AM   11    I'm going to sustain the objection on that ground.          It could

11:18AM   12    have been asked in direct in the first place.          You didn't

11:18AM   13    address the affidavit.      It doesn't seem to be a prior

11:18AM   14    consistent statement.      It seems to be something else.

11:18AM   15    BY MS. JAWORSKI:

11:18AM   16    Q.   Do you agree that you submitted an affidavit six weeks

11:18AM   17    after Mr. McMurray's visit?

11:18AM   18                MR. YANKELUNAS:   Objection, Judge.

11:18AM   19                THE COURT:   Sustained.

11:18AM   20    BY MS. JAWORSKI:

11:18AM   21    Q.   Mr. Renzoni, did you submit an affidavit in this case?

11:19AM   22    A.   Yes.

11:19AM   23                MR. YANKELUNAS:   Objection.    Objection.

11:19AM   24                THE COURT:   So you -- the cross-examination didn't

11:19AM   25    have anything to do with the affidavit.         These are all
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11:19AM    1    questions you could have asked on direct.         If you are trying

11:19AM    2    to rehabilitate the witness, you may point to a portion of the

11:19AM    3    affidavit that you want to focus on, but asking the questions

11:19AM    4    now when it wasn't covered in cross isn't proper.

11:19AM    5                 MS. JAWORSKI:   All right.

11:19AM    6    BY MS. JAWORSKI:

11:19AM    7    Q.    I'm going to share my screen and ask you some questions

11:19AM    8    about specific statements in your affidavit, Mr. Renzoni.

11:19AM    9    Let me know if you can see my screen.

11:19AM   10    A.    Yes.   I can see it.

11:19AM   11    Q.    I am directing your attention to paragraphs 13 through

11:19AM   12    17.

11:19AM   13    A.    Yes.

11:19AM   14    Q.    Did you have an opportunity to review those statements?

11:19AM   15    A.    Yes.   I have reviewed them.

11:20AM   16    Q.    And to turn back to the conversation that you had with

11:20AM   17    Mister -- that you observed between Mr. McMurray and

11:20AM   18    Mr. Taylor, does this refresh your recollection at all as to

11:20AM   19    the specifics of that conversation?

11:20AM   20    A.    It does quite a bit.

11:20AM   21    Q.    And would you agree that the affidavit is accurate?

11:20AM   22    A.    Yes.

11:20AM   23    Q.    And truthful?

11:20AM   24    A.    Yes.

11:20AM   25                 MR. YANKELUNAS:   Objection, Judge.
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11:20AM    1               MS. JAWORSKI:    No further questions.

11:20AM    2               THE COURT:    Basis for objection?

11:20AM    3               MS. JAWORSKI:    If she's going to ask the witness if

11:20AM    4    the affidavit refreshes your recollection, I believe she

11:20AM    5    should identify what she's -- the witness is not remembering

11:20AM    6    from the testimony.

11:20AM    7               THE COURT:    So you asked the witness about the

11:20AM    8    specifics of the conversation and he repeatedly said, I didn't

11:20AM    9    recall.    I didn't recall.     So it's proper refreshing of

11:21AM   10    recollection.

11:21AM   11               MS. JAWORSKI:    No further questions.

11:21AM   12               THE COURT:    Any recross?

11:21AM   13               MR. YANKELUNAS:    No thanks, Judge.

11:21AM   14               THE COURT:    All right.    You may excuse the witness

11:21AM   15    and any further witnesses for the defendant?

11:21AM   16               MS. JAWORSKI:    No, Your Honor.

11:21AM   17               THE COURT:    Any witnesses for the plaintiffs?

11:21AM   18               MR. YANKELUNAS:    Yes.    We're going to call

11:21AM   19    Mr. McMurray, Judge.

11:21AM   20               MR. RADEL:    Your Honor, Robert Radel on behalf of the

11:21AM   21    two witnesses.     Are we now complete?     May I dismiss this

11:21AM   22    second witness and drop from this Zoom meeting?

11:21AM   23               THE COURT:    We are and you may.     Thank you.

11:21AM   24               MR. RADEL:    Thank you, Your Honor.

11:21AM   25    (The witness was excused at 11:21 a.m.)
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11:21AM    1               MR. DIRENFELD:    Your Honor, this is John Direnfeld on

11:21AM    2    behalf of ACV.     I just want to let the Court know I'll be

11:21AM    3    handling Mr. McMurray and handling any objections as well,

11:21AM    4    just so you know in terms of who is speaking.

11:21AM    5               THE COURT:    All right.    Thank you.

11:21AM    6               MR. JOHNSEN:    Your Honor, just for purposes of

11:21AM    7    feedback, Mr. McMurray will have his own camera, but we're

11:21AM    8    just going to use one microphone on Mr. Yankelunas's computer

11:22AM    9    so we don't have all that feedback and reverb.          So if there's

11:22AM   10    an issue, please let me know.

11:22AM   11               THE COURT:    All right.    Thank you.    Plaintiffs may

11:22AM   12    call the witness and we'll have the witness sworn in.

11:22AM   13               MR. YANKELUNAS:    Thank you Judge.      Nate McMurray for

11:22AM   14    the plaintiff.     Hopefully you can see him.       There he is.   I

11:22AM   15    believe we have called him.

11:22AM   16               THE COURT:    You have called him.     You are all under

11:22AM   17    different peoples's name, so I think this is coming up under

11:23AM   18    Mr. Johnsen.     You are Mr. McMurray.

11:23AM   19    (The witness was sworn at 11:23 a.m.)

11:23AM   20               THE CLERK:    Please state your name and spell your

11:23AM   21    last name for the record.

11:23AM   22               THE WITNESS:    My name is Nathan McMurray, last name

11:23AM   23    M-C-M-U-R-R-A-Y.

11:23AM   24

11:23AM   25
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11:23AM    1                              DIRECT EXAMINATION

11:23AM    2

11:23AM    3    BY MR. YANKELUNAS:

11:23AM    4    Q.   Mr. McMurray, are you an attorney?

11:23AM    5    A.   Yes I am.

11:24AM    6    Q.   Admitted in what state?

11:24AM    7    A.   New York State.

11:24AM    8    Q.   What year were you admitted?

11:24AM    9    A.   2008.

11:24AM   10    Q.   Tell us a little bit your educational background.

11:24AM   11    A.   I graduated public schools locally.        Went to the

11:24AM   12    University of Buffalo undergraduate.        I was a full bright

11:24AM   13    scholar in South Korea.      Went to lawsuit at the University of

11:24AM   14    California, Hastings College of the Law.         I received a

11:24AM   15    scholarship to study at Tsinghua University in Beijing.          I

11:24AM   16    practiced overseas for a long time, came back around

11:24AM   17    eight years ago and work in Western New York at that time.

11:24AM   18    Q.   Did you run for Congress, Mr. McMurray?

11:24AM   19    A.   I did.

11:24AM   20    Q.   What year was that?

11:24AM   21    A.   I ran twice; first in 2018 and I ran 2019.

11:24AM   22    Q.   Did you have any endorsements that you were proud of?

11:25AM   23    A.   I was endorsed by the President of the United States,

11:25AM   24    every major local union and national union; not every, but

11:25AM   25    most, many non-profit organizations, almost too numerous to
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11:25AM    1    list.

11:25AM    2    Q.   And you were -- did you hold a position of authority in

11:25AM    3    the Town of Grand Island at any point?

11:25AM    4    A.   Yes.    I am proud to have served as the Grand Island Town

11:25AM    5    Supervisor.

11:25AM    6    Q.   What years?

11:25AM    7    A.   I was elected in 2015.      I served for four years.

11:25AM    8    Q.   At what point, you worked at HoganWillig law firm?

11:25AM    9    A.   I did.

11:25AM   10    Q.   Okay.    And where are you now?

11:25AM   11    A.   I work for Advocates For Justice chartered attorneys.

11:25AM   12    It's a civil rights firm.

11:25AM   13    Q.   Now do you know Christopher Taylor?

11:25AM   14    A.   I do.

11:25AM   15    Q.   How do you know him?

11:25AM   16    A.   When I become town supervisor, he was a businessperson on

11:25AM   17    the island.    I try to support local business as much as

11:26AM   18    possible.     He reached out to me.     He was also involved in an

11:26AM   19    organization that I was working with to develop a memorial

11:26AM   20    for a Medal of Honor winner that was from Grand Island.           We

11:26AM   21    had some disputes regarding various different issues.            He was

11:26AM   22    very active in the town.      He appeared, at least a few times,

11:26AM   23    before me at the town hall advocating for various positions,

11:26AM   24    so yes.     I know him.

11:26AM   25    Q.   Now at some point, did he ask you to assist him with his
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11:26AM    1    business opportunities?

11:26AM    2    A.   He did.    Yes he did.

11:26AM    3    Q.   And you appeared at a ribbon cutting ceremony?

11:26AM    4    A.   I did.    I was proud to be there.     It was fun.    He did the

11:26AM    5    ribbon cutting for his new wing of his facility.

11:26AM    6    Q.   How did you get there?

11:26AM    7    A.   He invited me.

11:26AM    8    Q.   Okay.    Were there other events that he participated in,

11:26AM    9    political events?

11:27AM   10    A.   I saw him all the time.

11:27AM   11    Q.   Now, eventually, you had a falling out.        Would that be a

11:27AM   12    fair characterization?

11:27AM   13                 MR. DIRENFELD:   Object -- Your Honor, I'm just going

11:27AM   14    to object that there's a lot of leading going on here, so I'll

11:27AM   15    object to leading now that we're getting to substance.

11:27AM   16                 THE COURT:   Sustained.

11:27AM   17    BY MR. YANKELUNAS:

11:27AM   18    Q.   Did you have a falling out?

11:27AM   19    A.   I mean, we -- I think on national issues were very

11:27AM   20    different and I think, you know, I said in my affidavit he

11:27AM   21    was supporting the -- I was support the West River Trail

11:27AM   22    which was very controversial in Grand Island.          I received a

11:27AM   23    lot of pushback.     He lives on West River.      At one moment, we

11:27AM   24    did have a confrontation about it.        He was very upset.     I

11:27AM   25    know he was working with several of the council members that
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11:27AM    1    were also against the trail, so yes.        We stopped talking.

11:27AM    2    Q.   Let me direct your attention to July 22nd, 2021.            Did you

11:28AM    3    visit this -- I'll call it CAB.       Did you visit the CAB

11:28AM    4    business facilities on that date?

11:28AM    5    A.   Yes.    I pass it every day literally.       It's right by my

11:28AM    6    home and I dropped in to look at cars.

11:28AM    7    Q.   Okay.   Were you looking for cars during this time period?

11:28AM    8    A.   Yes.    I was going to self dealership looking for a truck

11:28AM    9    and I actually bought a truck right around that time.

11:28AM   10    Q.   Okay.   Can you give me an estimate as to how many

11:28AM   11    dealerships you visited while you were looking for a truck?

11:28AM   12    A.   I can only estimate.     I would guess four.

11:28AM   13    Q.   Okay.   That's fair.    Now when you first got to these --

11:28AM   14    dealership on July 22nd, who did you speak with?

11:28AM   15    A.   I may be saying his name wrong, Renzoni, I think.           I

11:28AM   16    can't remember his first name.       I'm sorry.

11:28AM   17    Q.   And how long did you speak to Mr. Renzoni?

11:28AM   18    A.   Maybe 5, 10 minutes.

11:28AM   19    Q.   And what were you talking about?

11:29AM   20    A.   Cars.   And he was -- I told him exactly what I wanted.           I

11:29AM   21    don't have a lot of time.       My schedule is busy.     And I said,

11:29AM   22    this is what I want and this is the price I got from other

11:29AM   23    places and he told me he couldn't give me those prices and it

11:29AM   24    was a short conversation.

11:29AM   25    Q.   At some point, did Mr. Taylor become a participant in
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11:29AM    1    that conversation?

11:29AM    2    A.   He came out.

11:29AM    3    Q.   Just answer the question.

11:29AM    4    A.   Yes.

11:29AM    5    Q.   Okay.   And how did that happen?

11:29AM    6    A.   He came out and we saw each other and it was fun because

11:29AM    7    it was -- I was excited.      The reason why I went in there was

11:29AM    8    because I remember Chris.       I didn't have any hard feelings

11:29AM    9    and I hoped maybe it would, in some small way, would help the

11:29AM   10    island and help Chris if I were to get a truck from him and

11:29AM   11    work it out.     He was excited to see me and I was excited to

11:29AM   12    see him.

11:29AM   13    Q.   Okay.   How long would you say you spoke to Mr. Taylor?

11:29AM   14    A.   It was a short conversation, maybe 10 minutes.

11:30AM   15    Q.   Okay.   Did the ACV lawsuit come up?

11:30AM   16    A.   Yes.

11:30AM   17    Q.   How?

11:30AM   18    A.   He said, remember when you were here for the first wing

11:30AM   19    and I said yes.     And he said, we're putting in a new wing.

11:30AM   20    What have you been up to?       And I said, I'm working at this

11:30AM   21    law firm and I'm working on a case.        And I said, listen, do

11:30AM   22    you know about ACV because at that time, I was consumed with

11:30AM   23    the case and learning about it and understanding the

11:30AM   24    industry.

11:30AM   25    Q.   And what did he say?
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11:30AM    1    A.   Yes.   He said he knew about it and he had started to talk

11:30AM    2    about it with me and tell me his concerns with ACV and it

11:30AM    3    seemed like we had some, I don't know, like we had like,

11:30AM    4    common ground.

11:30AM    5    Q.   Where were his concerns?

11:30AM    6    A.   He said that he started with Joe Nieman and his

11:30AM    7    reputation for aggressive tactics an lavish sales tactics and

11:31AM    8    I said, you know, I said, I heard the same thing.          It was a

11:31AM    9    high level conversation regarding what I had heard and what

11:31AM   10    he had heard.

11:31AM   11    Q.   Did a reference to shill bidding come up?

11:31AM   12    A.   Yes.

11:31AM   13    Q.   Did he know what that was?

11:31AM   14    A.   Yes.

11:31AM   15    Q.   And what did he say?

11:31AM   16    A.   He said he knew about it.      He said he heard about it.        He

11:31AM   17    said there were rumors in the industry and people talk and we

11:31AM   18    started to talk and I was animated because I was very

11:31AM   19    interested in what was -- I mean, obviously, I was committed

11:31AM   20    to the case and to the facts I heard about the case.

11:31AM   21    Q.   When you say heard about it, in reference to ACV?

11:31AM   22    A.   He told me he knew Joe well and knew all about the

11:31AM   23    company.

11:31AM   24    Q.   What about shill bidding?

11:31AM   25    A.   He says he heard about it, but he knew more about lavish
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11:31AM    1    gifts and other activities and he acted like he was sort of

11:31AM    2    an -- inside knowledge of ACV because obviously I would have

11:32AM    3    been interested in it.

11:32AM    4    Q.   Okay.    Did you discuss meeting again?

11:32AM    5    A.   Yes.    He wanted to meet as well.       He gave me his card.

11:32AM    6    He put his number on the card and he said contact me.            Let's

11:32AM    7    talk.

11:32AM    8                 MR. YANKELUNAS:     Okay.   Let's put Exhibit 1 up.

11:32AM    9                 MR. JOHNSEN:    Your Honor, if permissible by you,

11:32AM   10    could I give Mr. McMurray the same piece of paper that's on

11:32AM   11    the screen?     This is Ryan Johnsen.       I apologize.

11:32AM   12                 THE COURT:   Yes.   You may do that.

11:32AM   13    BY MR. YANKELUNAS:

11:32AM   14    Q.   Now Mr. McMurray, can you identify Exhibit 1 please?

11:32AM   15    A.   Yes.    That's the card that he gave me.

11:33AM   16    Q.   Now who is the -- what's the pointed name on the card?

11:33AM   17    A.   Chris Taylor.

11:33AM   18    Q.   Printed name on the card?

11:33AM   19    A.   Oh, Tim Renzoni.

11:33AM   20    Q.   Okay.    Is Tim Renzoni the person who gave you the card?

11:33AM   21    A.   He gave me the card and then --

11:33AM   22    Q.   Okay.    We'll get to that.

11:33AM   23                 THE REPORTER:   I'm sorry Mr. McMurray.       Who gave you

11:33AM   24    the card?

11:33AM   25                 THE WITNESS:    Tim Renzoni.
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11:33AM    1    BY MR. YANKELUNAS:

11:33AM    2    Q.   Okay.   When?

11:33AM    3    A.   While we were -- this was a conversation in the hallway

11:33AM    4    of Certified Auto.     It's like we weren't in some office or

11:33AM    5    something.    I was in Renzoni's office, he gave me the card,

11:33AM    6    then Chris came out and talked to all of us in the hallway.

11:33AM    7    Q.   Okay.   Now do you see the handwriting, Chris Taylor, and

11:33AM    8    a phone number?

11:33AM    9    A.   Yes.

11:33AM   10    Q.   Okay.   Done how that got there?

11:33AM   11    A.   Chris wrote it on there.

11:33AM   12    Q.   Did you see him write on on there?

11:33AM   13    A.   Yes.

11:33AM   14    Q.   Was he saying something to you while he was going that or

11:33AM   15    how did this come about?

11:33AM   16    A.   He said contact me.     Yeah.   Call.   Let's talk.

11:33AM   17    Q.   There's a reference to back lot.        Do you see that on the

11:34AM   18    left-hand side of the exhibit?

11:34AM   19    A.   Yes.

11:34AM   20    Q.   Whose handwriting is that, do you know?

11:34AM   21    A.   That's my handwriting.

11:34AM   22    Q.   What does that refer to?

11:34AM   23    A.   That refers to the competitor of ACV, back lot.

11:34AM   24    Q.   How did you know to write that down?

11:34AM   25    A.   He told me back lot may have some problems with ACV.        I
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11:34AM    1    made a note of it on the card.

11:34AM    2    Q.   Who is he?

11:34AM    3    A.   Christopher Taylor.

11:34AM    4    Q.   Thank you.    Now did you discuss meeting again when you

11:34AM    5    were -- had this conversation with Mr. Taylor?

11:34AM    6    A.   Yes, but I told -- I'm sorry.

11:34AM    7    Q.   That's fine.

11:34AM    8    A.   I'm a little belabored by breath because of the -- sorry.

11:34AM    9    Q.   Are you okay?

11:34AM   10    A.   I'm fine.    I don't hurt.    I just seemed belabored.

11:34AM   11    Q.   That's fine.

11:34AM   12    A.   So the -- yes.     I said, call me.    And he -- I said -- or

11:34AM   13    he told me to call him and I did not call him.

11:35AM   14    Q.   All right.

11:35AM   15    A.   I did not give him a card or anything.        I gave

11:35AM   16    Mr. Renzoni my contact information.

11:35AM   17    Q.   Did you ever discuss attorney's fees with Mr. Taylor?

11:35AM   18    A.   Never.

11:35AM   19    Q.   Discuss retainer agreements?

11:35AM   20    A.   Never.

11:35AM   21    Q.   Did you ask him to sign a retainer agreement?

11:35AM   22    A.   Never.

11:35AM   23               THE COURT:    Mr. Yankelunas, can we take down the card

11:35AM   24    now so I can see?

11:35AM   25               MR. YANKELUNAS:    Yes.   Sorry.    Can we go to
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11:35AM    1    Exhibit 2?     That's it.     Can you give Mr. McMurray a hard copy?

11:35AM    2    BY MR. YANKELUNAS:

11:35AM    3    Q.   Can you identify this exhibit?

11:35AM    4    A.   Yes, the email confirming my purchase of my car that's

11:35AM    5    parked outside.

11:35AM    6                 MR. YANKELUNAS:    Okay.   We're offering this exhibit,

11:35AM    7    Judge.

11:35AM    8                 THE COURT:   Any objection?

11:36AM    9                 MR. DIRENFELD:    No objection, Your Honor.

11:36AM   10                 THE COURT:   Plaintiff's 2 is admitted.

11:36AM   11    (Plaintiff's Exhibit 2 was received in evidence.)

11:36AM   12

11:36AM   13    BY MR. YANKELUNAS:

11:36AM   14    Q.   Is that referring to the purchase of a vehicle at the

11:36AM   15    same time period of July --

11:36AM   16    A.   I bought a 2021 Ram.

11:36AM   17    Q.   Is there a date on this exhibit?

11:36AM   18    A.   It's the 23rd, I think, right?

11:36AM   19    Q.   Read the exhibit.      It's right there.

11:36AM   20    A.   Friday, July 23rd, yeah.

11:36AM   21    Q.   Okay.    So, in other words, you bought a car the next day,

11:36AM   22    correct?

11:36AM   23    A.   Yes.

11:36AM   24    Q.   Why didn't you buy a car or pick-up at CAB?

11:36AM   25    A.   I don't want to disparage the guy, but his sales tactics
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11:36AM    1    were hard and heavy.        And I didn't like the pricing he was

11:36AM    2    giving me.     I mean, we -- to be totally honest, I went into

11:36AM    3    Certified because I live right there.        Again, I thought, what

11:36AM    4    the heck, let's see what Christ can offer and I was already

11:36AM    5    kind of set on what I was going to do.

11:36AM    6    Q.   Why did you visit a used car dealership if you were

11:36AM    7    looking for a new car?

11:36AM    8    A.   Because I know Chris and I pass this location every

11:37AM    9    single day.     I'll pass it when I leave here.      I pass it every

11:37AM   10    single day.     And they have cars parked up and down the

11:37AM   11    street, truck.     So I thought what's the harm in going to talk

11:37AM   12    with them?

11:37AM   13                 MR. YANKELUNAS:    Let's try Exhibit 5 again.

11:37AM   14                 MR. JOHNSEN:    This is Ryan JOHNSEN.    Mr. Yankelunas

11:37AM   15    would like me to play Plaintiff's 5 which has already been

11:37AM   16    marked and introduced into evidence.

11:37AM   17    (The recording was played.)

11:38AM   18    BY MR. YANKELUNAS:

11:38AM   19    Q.   Was everybody able to hear that?       Mr. McMurray, you

11:38AM   20    recognize the voice on that tape?

11:38AM   21    A.   I do not.

11:38AM   22    Q.   Okay.    Do you know what that tape is asking you to do?

11:38AM   23    A.   I -- it's -- I received -- it feels like dozens, I'm not

11:38AM   24    sure the exact number of calls and messages from Certified

11:38AM   25    after I went in, which confirmed my original impression of
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11:38AM    1    the sales tactics and they called all the time.

11:38AM    2    Q.   In reference to buying a pick-up truck?

11:38AM    3    A.   Yes.

11:38AM    4    Q.   Because that's why you went in there?

11:38AM    5    A.   Yes.

11:38AM    6    Q.   Now did you have any other interests and discussions with

11:38AM    7    anyone about the ACV lawsuit?

11:38AM    8    A.   Yes.

11:38AM    9    Q.   Okay.    Can you describe that for the Court?

11:38AM   10    A.   Any other persons?

11:38AM   11    Q.   Any in-person discussions with anyone else?

11:38AM   12    A.   Well we met with people that were witnesses in the case

11:39AM   13    or people that wanted to be potential witnesses.          Yes.   We

11:39AM   14    met, in our law offices, with several people.

11:39AM   15    Q.   Okay.    I'm talking about in-person discussions with

11:39AM   16    people with counsel present?

11:39AM   17    A.   Yes.

11:39AM   18    Q.   All right.

11:39AM   19    A.   We -- it was -- there was substantial evidence of

11:39AM   20    wrongdoing and we did everything we could to understand it

11:39AM   21    and find people that are --

11:39AM   22                 MR. YANKELUNAS:   Okay.   Now the subject of redirect,

11:39AM   23    Judge, I have nothing further for Mr. McMurray.

11:39AM   24                 THE COURT:   Any cross?

11:39AM   25                 MR. DIRENFELD:    Yes, Your Honor.
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11:39AM    1                               CROSS-EXAMINATION

11:39AM    2

11:39AM    3    BY MR. DIRENFELD:

11:39AM    4    Q.   So Mr. McMurray I think I just want to start with where

11:39AM    5    you just ended there and then we can trace back.          You said

11:39AM    6    you had dozens of other conversations with other people about

11:39AM    7    the lawsuit?

11:39AM    8                MR. YANKELUNAS:   Objection.    That wasn't the

11:39AM    9    testimony.    He didn't say dozens.

11:39AM   10                THE COURT:   So, don't do that until the question is

11:40AM   11    finished.    And dozens may be an exaggeration.        You had a

11:40AM   12    conversation with other people about the lawsuit.          Go ahead

11:40AM   13    and finish your question.

11:40AM   14                MR. DIRENFELD:    Thank you, Your Honor.

11:40AM   15    BY MR. DIRENFELD:

11:40AM   16    Q.   Could you tell us who those other people -- that you had

11:40AM   17    conversations with about the lawsuit?

11:40AM   18                MR. YANKELUNAS:   Objection, Judge.     I think that's

11:40AM   19    work product.

11:40AM   20                THE COURT:   It appears to be work product.          So if --

11:40AM   21    and the testimony was, these were potential witnesses.             So

11:40AM   22    let's hear why we would overcome the work product privilege.

11:40AM   23                MR. DIRENFELD:    Well Your Honor, I believe that

11:40AM   24    counsel opened the door to that by asking the witness in terms

11:40AM   25    of whether he had conversations with other people about the
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11:40AM    1    case.   So I think we're entitled to explore those

11:40AM    2    conversations he's put on the record.

11:40AM    3                THE COURT:   He hasn't discussed the content of those

11:40AM    4    conversations and the witness testified they were with

11:40AM    5    witnesses in the law firm.       I will allow you to ask him if he

11:40AM    6    had any contact with any dealerships outside of the law firm

11:41AM    7    similar to the conversations that's at issue here.          That's a

11:41AM    8    permissible question.

11:41AM    9                MR. DIRENFELD:   Thank you, Your Honor.

11:41AM   10    BY MR. DIRENFELD:

11:41AM   11    Q.   Mr. McMurray, did you have any conversations with other

11:41AM   12    dealers outside the confines of the HoganWillig law firm?

11:41AM   13    A.   No.

11:41AM   14    Q.   All right.    So Mr. McMurray you testified that you are

11:41AM   15    licensed in New York State as an attorney; is that correct?

11:41AM   16    A.   Correct.

11:41AM   17    Q.   All right.    And as a member of the New York bar, are you

11:41AM   18    familiar with the New York Rules of Professional Conduct?

11:41AM   19    A.   Yes.

11:41AM   20    Q.   And that would include the rules relating to solicitation

11:41AM   21    of clients?

11:41AM   22    A.   Yes.

11:41AM   23    Q.   All right.    Now I think you testified earlier that you

11:41AM   24    are no longer employed at HoganWillig; is that correct?

11:41AM   25    A.   That's correct.
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11:42AM    1    Q.    When did you leave HoganWillig?

11:42AM    2                MR. YANKELUNAS:   Objection.    Relevance.

11:42AM    3                THE COURT:   I'll allow it.

11:42AM    4                THE WITNESS:   Approximately two months ago.         I'm not

11:42AM    5    sure the exact date.

11:42AM    6    BY MR. DIRENFELD:

11:42AM    7    Q.    And up until your departure two months ago, you were

11:42AM    8    working on the lawsuit against ACV that HoganWillig was

11:42AM    9    representing plaintiffs in; is that correct?

11:42AM   10    A.    I was.

11:42AM   11    Q.    So you testified, I believe, also earlier as to kind of

11:42AM   12    your relationship or previous relationship with Mr. Taylor.

11:42AM   13    Have you had -- was your relationship with Mr. Taylor limited

11:42AM   14    to your role as town supervisor?

11:42AM   15    A.    No.   We were engaged in things that were, I mean, he is

11:42AM   16    an active member of the community as was I -- as am I.            It's

11:43AM   17    a small town.     You're part of the committee to build the

11:43AM   18    DeGlopper Memorial.      We're both working on that together or

11:43AM   19    adjacent to it.     So it wasn't simply as the town supervisor.

11:43AM   20    We know each other to the point where I walked in and he saw

11:43AM   21    me.   We were -- it was -- excited to see each other.

11:43AM   22    Q.    When was that memorial that you referenced?        When was

11:43AM   23    that?   When was that completed or when was that worked on?

11:43AM   24    A.    It's still work in progress, but it's substantially

11:43AM   25    completed as of last year.
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11:43AM    1    Q.   Okay.    And you testified earlier as to a falling out that

11:43AM    2    you had with Mr. Taylor relating to the West River Trail?

11:43AM    3    A.   Right.

11:43AM    4    Q.   When did that falling out occur?

11:43AM    5    A.   Approximately 2016.       But we still are in the same small

11:43AM    6    town and, you know, you got to get along with people when you

11:44AM    7    see people.

11:44AM    8    Q.   Prior to July, prior to you going to Certified Auto on

11:44AM    9    July 22nd, 2021, when was the last time you had seen

11:44AM   10    Mr. Taylor?

11:44AM   11    A.   I cannot remember exactly.

11:44AM   12    Q.   Had you seen him in 2020?

11:44AM   13                 MR. YANKELUNAS:    Objection asked and answered.

11:44AM   14                 THE COURT:   Sustained.

11:44AM   15    BY MR. DIRENFELD:

11:44AM   16    Q.   Now you are not related to Mr. Taylor; is that correct?

11:44AM   17    A.   I do not believe I am.      No.

11:44AM   18    Q.   Right.    And Mr. Taylor has never been your client before?

11:44AM   19    A.   No.

11:44AM   20    Q.   As an attorney?

11:44AM   21    A.   No.

11:44AM   22    Q.   Has he ever been a client of HoganWillig?

11:44AM   23    A.   I don't know.

11:44AM   24    Q.   Has Certified Auto Brokers ever been a client of

11:44AM   25    HoganWillig?
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11:44AM    1    A.   I don't know.

11:44AM    2    Q.   Has Certified Auto Brokers ever been a client of yours in

11:45AM    3    your capacity as an attorney?

11:45AM    4    A.   No.

11:45AM    5    Q.   So I want to turn to the events of July 22nd that you

11:45AM    6    testified to.     I believe you testified that you stopped off

11:45AM    7    at Certified Auto Brokers on your way home from work.

11:45AM    8    Approximately what time was that at?

11:45AM    9    A.   I don't remember exactly.      It was in the afternoon some

11:45AM   10    time.

11:45AM   11    Q.   Was it close to the time that Certified Auto Brokers was

11:45AM   12    closing?

11:45AM   13    A.   I don't remember.     It was -- honestly, if we weren't

11:45AM   14    having this discussion --

11:45AM   15               MR. YANKELUNAS:    Just answer the question, Nate.

11:45AM   16               THE WITNESS:    I would never remember most of this.

11:45AM   17    It was a brief encounter.

11:45AM   18    BY MR. DIRENFELD:

11:45AM   19    Q.   Now you say that you -- one of your issues when you were

11:45AM   20    talking with Mr. Renzoni, as it related to the trucks was

11:45AM   21    that you didn't like the price that he was giving to you; is

11:45AM   22    that correct?

11:45AM   23    A.   The -- I told him exactly how much I wanted to pay.         And

11:46AM   24    he said, how about we do this?       And I said, that doesn't make

11:46AM   25    sense from what I'm hearing at other dealerships.
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11:46AM    1    Q.   How much did you want to pay?

11:46AM    2    A.   I said I wanted to keep my payment to $500 a month and I

11:46AM    3    wanted a car that was within, you know, three to five years

11:46AM    4    old and he said, how about this much?          And I was like no.

11:46AM    5    Q.   Did he offer to show you any cars on the lot?

11:46AM    6    A.   Yeah.    He also said he didn't have the car I wanted,

11:46AM    7    which was a Dodge Ram.

11:46AM    8    Q.   So you testified he didn't have any Dodge Rams in stock?

11:46AM    9    A.   He said not of the color I wanted.         I wanted black.

11:46AM   10    Q.   I believe you testified earlier that you don't have a lot

11:46AM   11    of time and therefore, it was important for you to make a

11:46AM   12    very efficient trip.        Is that correct?   Is that fair to say?

11:46AM   13    A.   Yes, that's fair to say.

11:46AM   14    Q.   Did you do any research prior to going to Certified Auto

11:46AM   15    Brokers as to what cars they may have in stock?

11:46AM   16    A.   Again, I pass it all the time.       Lots of cars.    And I know

11:47AM   17    from talking to Chris in the past he has the ability to get

11:47AM   18    cars fast.     So I thought, why don't I give it a shot?

11:47AM   19    Q.   But did you do any research in terms of what inventory

11:47AM   20    they had on the lot prior to going?

11:47AM   21                 MR. YANKELUNAS:    Objection.

11:47AM   22                 THE WITNESS:    I don't have -- go ahead.

11:47AM   23                 THE COURT:   So, stop.   There's an objection.       Basis?

11:47AM   24                 MR. YANKELUNAS:    Asked and answered.

11:47AM   25                 THE COURT:   I do not believe it has been.     Did you do
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11:47AM    1    any research before you went on the lot?

11:47AM    2                 THE WITNESS:   Other than driving by, no.     I don't

11:47AM    3    have a personal, first-hand knowledge of the lot or the

11:47AM    4    dealership or -- beyond my interaction with Chris in the past.

11:47AM    5    So, no.     I was going to go and look later.

11:47AM    6    BY MR. DIRENFELD:

11:47AM    7    Q.   Okay.    What dealership did you ultimately purchase your

11:47AM    8    car from?

11:47AM    9    A.   What's it called again?       I think it's called Northtown

11:47AM   10    Dodge Ram.

11:47AM   11    Q.   Okay.    And how did you decide to go to that dealership?

11:47AM   12    A.   The same way, I pass it on the way home and it's near

11:48AM   13    where I was working.

11:48AM   14    Q.   So just -- you did not end up actually looking at any

11:48AM   15    vehicles while you were on the Certified Auto Brokers lot; is

11:48AM   16    that correct?

11:48AM   17                 MR. YANKELUNAS:   Objection.   Asked and answered.

11:48AM   18                 THE COURT:   It is.

11:48AM   19                 MR. DIRENFELD:    Okay.

11:48AM   20    BY MR. DIRENFELD:

11:48AM   21    Q.   Now in talking with Mr. Taylor, you brought up the

11:48AM   22    lawsuit with ACV; is that correct?

11:48AM   23    A.   Yes.

11:48AM   24    Q.   All right.    And you invited Mr. Taylor to talk more with

11:48AM   25    you about the lawsuit; is that correct?
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11:48AM    1    A.   Yes, because he seemed to know lots about ACV.

11:48AM    2    Q.   Did you offer Mr. Taylor to come to HoganWillig to

11:49AM    3    discuss the lawsuit?

11:49AM    4    A.   Yes.   I said, do you want to?      Let's -- maybe we can talk

11:49AM    5    later and, you know, I said, reach out to me.

11:49AM    6    Q.   Did you offer Certified Auto Brokers that HoganWillig

11:49AM    7    could represent ACV in a lawsuit?

11:49AM    8    A.   No.    I didn't -- I said we should talk more.       More than

11:49AM    9    anyone, I wanted to get his inside knowledge of the industry.

11:49AM   10    I'm not from the industry.       He's lived in it -- okay.       Sorry.

11:49AM   11    Q.   So after your discussion with Mr. Taylor regarding ACV

11:49AM   12    Auctions, did you leave the dealership after that

11:49AM   13    conversation?

11:49AM   14    A.   Right away.    Yes.

11:49AM   15    Q.   Did Mr. Taylor offer to show you cars on the lot as part

11:49AM   16    of your conversation?

11:49AM   17    A.   I don't recall.

11:49AM   18    Q.   You testified earlier regarding voice messages that you

11:50AM   19    received from Mr. Renzoni.       You didn't return any of those

11:50AM   20    voice messages, did you, about purchasing a pick-up truck?

11:50AM   21    A.   I did not.

11:50AM   22    Q.   What is your payment on the car that you did end up

11:50AM   23    purchasing?

11:50AM   24                MR. YANKELUNAS:    Objection.   Relevance.

11:50AM   25                THE COURT:     I'm going to sustain the objection.
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11:50AM    1               MR. DIRENFELD:      I have no further questions, Your

11:50AM    2    Honor.

11:50AM    3               THE COURT:    Any redirect?

11:50AM    4               MR. YANKELUNAS:     No, Judge.

11:50AM    5               THE COURT:    Any further witnesses for plaintiffs?

11:50AM    6               MR. YANKELUNAS:     No, Your Honor.

11:50AM    7               THE COURT:    Any rebuttal witnesses for defendants?

11:51AM    8               MS. JAWORSKI:    No, Your Honor.

11:51AM    9               THE COURT:    I'm going to close the evidence

11:51AM   10    alternative this point in time.       I believe both sides

11:51AM   11    adequately briefed the issues.        I know what they are.      If you

11:51AM   12    feel there is something you need to supplement, I would give

11:51AM   13    you two weeks to do it.      I don't necessarily share that

11:51AM   14    opinion, but I wouldn't be opposed to it.         Any thoughts about

11:51AM   15    that?

11:51AM   16               MR. YANKELUNAS:     That sounds adequate, Judge.       Thank

11:51AM   17    you.

11:51AM   18               MS. JAWORSKI:    Agreed, Your Honor.     Thank you.

11:51AM   19               THE COURT:    All right.    I want you to make sure that

11:51AM   20    the court clerk gets a hard copy of your exhibits, including

11:51AM   21    the recording.     I'll close the evidence at this time.         I'll

11:51AM   22    take the matter under advisement 14 days from today, starting

11:51AM   23    tomorrow and do the 14-day count.        If you didn't file

11:51AM   24    anything, it just goes under advisement based on what's been

11:51AM   25    filed so far.     All right?    Anything further in this matter?
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11:52AM    1               MR. YANKELUNAS:    Not for the plaintiff, Your Honor.

11:52AM    2    Thank you very much.

11:52AM    3               MS. JAWORSKI:    No, Your Honor.     Thank you.

11:52AM    4               THE COURT:    All right.    Thank you.   Thank you, madam

11:52AM    5    clerk.    You may leave the Zoom call.

           6    (Proceedings concluded at 11:52 a.m.)

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 3                       I certify that the foregoing is a

 4               correct transcription of the proceedings

 5               recorded by me in this matter.

 6

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 8

 9                                        s/ Megan E. Pelka, RPR

10                                        Official Court Reporter

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